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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA, THE STATE
OF CALIFORNIA, THE STATE OF
COLORADO, THE STATE OF CONNECTICUT,
THE STATE OF DELAWARE, TI{E STATE OF           14CV9412
FLORIDA, THE STATE OF GEORGIA, TIfi            JUDGE CASTILLO
STATE OF HAWAII, TIfi STATE OF ILLINOIS,       MAG JUDGE SOAT BROWN
THE STATE OF INDIANA, T}fi STATE OF
IOWA, THE STATE OF LOUISIANA, TI{E
STATE OF MARYLAND, THE
COMMONWEALTH OF MASSACHUSETTS,             CTVL ACTION NO.
TI{E STATE OF MICHIGAN, THE STATE OF
MINNESOTA, TI{E STATE OF MONTANA,          CHIEF JUDGE CASTILLO
TFM STATE OF NEVADA, THE STATE OF
NEW JERSEY, THE STATE OF NEW MEXICO,
TI# STATE OF NEW YORK, THE STATE OF        RELATOR'S COMPLAINT PURSUANT
NORTH CAROLINA, TIfi STATE OF
OKLAHOMA, THE STATE OF RHODE               TO THE FEDERAL FALSE CLAIMS
ISLAND, THE STATE OF TENNESSEE, THE        ACT,31 U.S.C. $$3729 ET SEQ.
STATE OF TEXAS, THE COMMONWEALTH           AI[D SUPPLEMENTAL STATE FALSE
OF VIRGINIA, THE STATE OF WASHINGTON,      CLAIMS ACTS
TI{E STATE OF WISCONSIN, AND T}IE
DISTRICT OF COLUMBIA, ex rel. RONALD J.
STRECK                                     FILED UNDER SEAL
            Plaintiffs,                    JI]RY TRIAL DEMANIDED
            v.

TAKEDA PHARMACEUTICALS AMERICA,
INC,, ASTELLAS PHARMA US, INC.,
ACTAVIS, LLC, BERLEX, [NC., BOEHRINGER                             F.ULE
INGELHEIM PHARMACEUTICALS, INC.,
CELGENE CORPORATION, DAIICHI                                           No\/ $ 4   ?014
SANKYO, INC., ELI LLLY AND COMPANY,
FIRST HORIZON PHARMACEUTICAL
CORPORATION n/k/a SHIONOGI INC., JOM
                                                                   \?t*3't,
                                                                aunnr*,,'lE, tslgtfrl$t
PHARMACEUTICAL SERVICES, fNC., MERCK
& CO.,INC., ORGANON USA,INC., ROCHE
LABORATORIES, INC., SANTARUS, INC.,
TEVA PHARMACEUTICALS, USA, INC.
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        1.     Ronald Streck ("Relator") brings this action on behalf of the United States, the

State of Califomia, the State of Colorado, the State of Connecticut, the State of Delaware, the

State of Florida, the State of Georgia, the State of Hawaii, the State of Illinois, the State of Iowa,

the State of Indiana, the State of Louisiana, the State of Maryland, the Commonwealth of

Massachusetts, the State of Michigan, the State   of Minnesota, the State of Montana, the State of

Nevada, the State of New Jersey, the State of New Mexico, the State of New York, the State             of
North Carolina, the State of Oklahoma, the State of Rhode Island, the State of Tennessee, the

State of Texas, the Commonwealth of Virginia, the State of Washington, the State of Wisconsin

                                                             oothe
and the District of Columbia (collectively "the States" or           Plaintiff States"), for violations of

the Federal False Claims Act, 31 U.S.C. $$3729 et seq., as well as for violations of the following

state false claims acts: The CaliforniaFalse Claims    Act, Cal. Gov't Code $$12650 et seq.;The

Colorado Medicaid False Claims Act, $ 25.5-4-304, et seq.; The Connecticut False Claims Act,

Conn. Gen. Stat. $ l7b-301b; The District of Columbia False Claims Act, D.C. Code Ann. gg2-

308.03 et seq.; The Delaware False Claims and Reporting Act, Del. Code Ann. tit. 6, g$1201 e/

seq.; The Florida False Claims Act, Fla. Stat. $$ 68.081 et seq.; The Georgia False Medicaid

Claims Act, Ga. Code Ann. $$49-4-168 et seq.; The Hawaii False Claims Act, Haw. Rev. Stat.

$$661-21 et seq.; The Illinois Whistleblower Reward and Protection            AcL740Ill. Comp.      Stat.

Ann. $$17511 et seq.; The Indiana False Claims and Whistleblower Protection Act, Indiana Code

$5-11-5.5; The Iowa False Claims Act, $685.1, et seq.; The Louisiana Medical Assistance

Programs Integrity Law, La. R.S. 46:437.1 et seq.; The Maryland False Health Claims Act, g 2-

601, et seq.; The Massachusetts False Claims    Act, Mass. Ann. Laws. Ch. 12, $$5A et seq.; The

Michigan Medicaid False Claims Act, MCLS $$400.601 et seq.; Minnesota False Claims Act,

Minn. Stat. $ l5C.0l et seq.; Montana False Claims Act, Mont. Code Anno. $$17-3-401 et seq.;
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The Nevada False Claims Act, Nev. Rev. Stat. $$ 357.010 et seq.; The New Jersey False Claims

Act, N.J. Stat. $2A:32C-l et seq.;The New Mexico Medicaid False Claims Act, N.M. Stat. Ann.

$$ 27-14-l et seq.; The New York False Claims Act, NY CLS St. Fin. $$187 et seq.; The North

Carolina False Claims Act, 2009-554 N.C. Sess. Laws $$1-605 et seq.; The Oklahoma Medicaid

False Claims Act, Okla. Stat.    tit. 63, $$5053 et seq.; The Rhode Island False Claims Act, R.I.

Gen. Laws $$9-1.1-l et seq.; The Tennessee Medicaid False Claims Act, Tenn. Code Ann. $$

7l-5-l7l   et seq.; The Texas Medicaid Fraud Prevention Act, Tex. Hum. Res. Code $$36.001 er

seq.; The Virginia Fraud Against Taxpayers Act, Va. Code $$8.01-216.1 et seq.; The

Washington Medicaid Fraud False Claims Act, RCW 74.09.201 et seq.; and the Wisconsin False

Claims for Medical Assistance Act, Wis. Stats. $$20.931 (hereinafter referred to as the "state

False Claims Acts") to recover all damages, civil penalties and all other recoveries provided for

under the Federal False Claims Act and the State False Claims Acts against the following

defendants,   ffid their affiliates, subsidiaries,    agents, successors and assigns: Takeda

Pharmaceuticals America, Inc., Astellas Pharma US, Actavis, LLC, Inc., Berlex, Inc., Boehringer

Ingelheim Pharmaceuticals, Inc., Celgene Corporation, Daiichi Sankyo, Inc.,           Eli Lilly   and

Company, First Horizon Pharmaceutical Corporationn/Wa Shionogi Inc., JOM Pharmaceuticals

Services, Inc., Merck   &   Co.,Inc., Organon USA, Inc., Roche Laboratories, Inc., Santarus, Inc.,

Teva Pharmaceutical s, U SA Inc. (collectively, "Defendants").

I.     PROCEDURAL HISTORY

       2.      Relator Ronald Streck previously filed a related action, tlnited States et al. ex rel.

Streck v. Allergan, Inc. et al., Civ. A. No. 08-5135, in the District Court for the Eastern District

of Pennsylvania on October 28,2008 (referred to herein as the oorelated action"). The Defendants

in the related action at one time included some of the same Defendants named herein, including

Astellas, Boehringer Ingelheim, Celgene, Daiichi, First Horizon,       Lilly, JOM, Merck, Roche,
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Santarus, Takeda, Teva and Watson. Upon motion by the Relator, the aforementioned defendants

were dismissed without prejudice by the Court in an Order dated September 29,2011. Thus, the

claims against the Defendants named herein are no longer pending in the related action. The

currently pending complaint in the related action is the Fourth Amended Complaint filed on

September 7,    20ll   against thirteen pharmaceutical manufacturers under the Federal and State

False Claims Acts for underpaying Medicaid rebates owed to the govemment. For purposes                   of

explaining the rebate fraud scheme, Relator classified the defendants as Discount Defendantsl

and Service Fee Defendants.2 After an initial investigation, the United States and various states

declined   to intervene. On July 3,         2012, the District Court for the Eastern District of

Pennsylvania dismissed all claims against the Service Fee Defendants and dismissed the pre-

2007 claims against the Discount Defendants, but permitted the case to proceed against the

Discount Defendants for all fraudulent claims presented after January I,2007.

il.     SUMMARY

        3.      Congress established the Medicaid Drug Rebate Program to ensure that Medicaid,

the government health care progftrm for the indigent, would enjoy the same discounts on the

price of prescription drugs as other large public and private purchasers. Congress therefore

decided to "establish a rebate mechanism in order to give Medicaid the benefit of the best price

for which a manufacturer sells a prescription drug to any public or private purchaser." H.R. Rep.

No. 101-881, at96 (1990), reprinted in 1990 U.S.C.C.A.N., 2017, 2108.




' The Discount Defendants named in the related action's Fourth Amended Complaint are: AstraZeneca
Pharmaceuticals LP, Biogen Idec, Inc., Cephalon, Inc., and Genzyme Corporation.

2
  The Service Fee Defendants named in the related action's Fourth Amended Complaint are: Allergan,
Inc., Amgen, Inc., Bradley Pharmaceuticals, Inc., Eisai, Inc., Mallinckrodt, Inc., Novo Nordisk, Inc.,
Reliant Pharmaceuticals, Inc., Sepracor, Inc., and Upsher-Smith Laboratories, Inc.
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         4.      To ensure that state Medicaid programs receive the best or lowest possible price

for pharmaceuticals, the Social Security Act ("SSA") requires manufacturers whose products are

sold to Medicaid beneficiaries to execute a rebate agreement with the federal govemment. 42

U.S.C.     $ 1396r-8(ax1). Under this   agreement, manufacturers pay rebates      to   state Medicaid

progftIms.     Id.   The amounts of the rebates are based on the Average Manufacturer's Price

("AMP"), which is self-reported and quantified by the manufacturers themselves.

         5.      AMPs are reported by manufacturers to the Centers for Medicaid and Medicare

Services      ("CMS").    Since Medicaid rebates depend entirely         on pricing data that     the

pharmaceutical manufacturers self-report to CMS, the accuracy of the data is critical.

         6.      Generally, the higher the AMP reported by a manufacturer, the greater the rebate

owed by the manufacturer         to Medicaid. The necessity of paying rebates incentivizes
unscrupulous manufacturers to underreport their reported AMPs.

         7.      The Defendants named        in this Complaint      knowingly reported materially

inaccurate AMPs       to CMS from January l, 2004 through the present (the "Relevant            Time

Period"), and thereby defrauded the federal and state governments (o'Government Plaintiffs").

         8.     Beginning no later than 2004, Defendants and the pharmaceutical industry's

wholesalers began executing and implementing distribution services agreements ("Service

Agreements"). Service Agreements provide for a new trade structure known as "fee-for-

service." Service Agreements generally obligate manufacturers to pay a fee to wholesalers (also

referred   to herein as "distributors") in   exchange   for   services the wholesalers provide (the

"Service    Fee"). The    Service Fee is typically an amount equal      to a set percentage of    the

wholesalers' gross purchases of the manufacturers' products. For example,         if   a wholesaler's
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Service Fee is 2Yo of gross purchases, and gross purchases for a given quarter are $100, the

Service Fee owed by the manufacturer is $2.

          9.        In exchange for the Service Fee, the wholesaler provides certain services to the

manufacturer. While the Service Agreements at issue herein differ in certain particulars, many

of the primary services addressed in the various Service Agreements are similar and include

distribution services (buying, storing, packing, and shipping drugs), inventory management

services (maintaining an adequate supply          of the manufacturer's drugs in inventory, without
o'over-purchasing"
                         drugs), and data reporting services (providing detailed daily, weekly or

monthly reports of sales and inventory data). See Section            VII below for a more detailed
discussion of the services provided under the Service Agreements.

          10.       Defendants use these Service Fees     to artificially lower their reported AMPs,
which enable them, in violation of law, to materially underpay rebates to the state Medicaid

programs. Each of the Defendants executed this fraud through the "Discount Scheme," "service

Fee Scheme," or the      "Hybrid Scheme."

          1   1.    The Discount Defendants   -   In calculating AMP, manufacturers must include all

discounts they offer to wholesalers and other purchasers. 42 U.S.C. $1396r-8(k)(1); Medicaid

Rebate Agreement,        $1(a).   The practical effect of including a discount in AMP isto lower AMP

by the amount of the discount.

       12.          For reasons which are discussed in detail below, each of the services provided by

a wholesaler has value to the manufacturer who purchases the service. That is to say, in the

absence       of a wholesaler to perform these services, the manufacturer would have to pay a third

party to perform the services (or perform those services on its own at a substantial cost to the

company). As such, the fees paid for the services are bonafide.
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          13.      Notwithstanding the bona fide nature of the Service Fees they pay, the Discount

Defendants fraudulently characterized their payments              to   wholesalers   for these services   as

"discounts," "reductions, "credits," or "credit memos," as opposed to what they were: fees for

valuable services actually rendered. Since discounts, by law, are included in the calculation             of
AMP, this knowing mischaracterization of the fees paid to wholesalers reduced the
manufacturers' reported AMPs by the amount of the "discount," "reduction," "credit," or o'credit

memo." The fact that some Discount Defendants                  characterize "discounts" as o'reductions,"

"credits," or "credit memos," does not change the analysis because the outcome is the same-an

illegal deflation of AMP. Consequently, the Discount Defendants fraudulently understated their

rebate obligations to the Govemment Plaintiffs.

         14.       The Service Fee Defendants      -   As noted above, manufacturers must include all

price increases in AMP. Price increases cause AMP to rise, resulting in higher rebate obligations

for manufacturers. However, all bona fide service fees are excluded from AMP. Thus, to the

extent a manufacturer can disguise a price increase by hiding it within its contractual definition

     ooService
of               Fee," the price increase   will not cause the manufacturer's reported AMP - and its

consequent rebate obligations to the Government Plaintiffs         - to rise.
         15. The Service          Agreements      at   issue   in this case contain so-called "price
appreciation" clauses. These clauses provide that when a manufacturer increases its prices on a

particular drug, the Service Fee owed by the manufacturer to the wholesaler is lowered by the

amount of the wholesaler's units in inventory (of that drug), multiplied by the amount of the

price increase. Thus, when a manufacturer raises the price of a drug, that price increase applies

retroactively to the wholesaler's inventory, even though the wholesaler previously purchased that

inventory at a lower price.



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          16.    The effect of these "price appreciations" is offset against the Service            Fee.

Specifically, the manufacturer pays the Service Fee by retroactively raising the price            of its
products and then reducing the Service Fee by the amount of the price increase, dollar for dollar.

Price "appreciations," therefore, are retroactive price increases. However, no invoice is sent

from the manufacturer to the wholesaler for these price increases. For purposes of this

Complaint, "price appreciations on inventory" and "price appreciation credits" will be referred to

as   "off-invoice price increases."

          17.    Under the Medicaid Drug Rebate Program, manufacturers must include all price

increases   - including off-invoice price increases - in their calculations of AMP. In violation of
this obligation, the Service Fee Defendants disguised these off-invoice price increases by

including them in the definition of Service Fee. This led to a reduction in the Service Fee by the

amount of the off-invoice price increase, rather than an increase in AMP by the amount of the

off-invoice price increase, thus providing Service Fee Defendants with a convenient, but illegal,

method to exclude off-invoice price increases from their AMP calculations.

         18.     The Hybrid Defendants   -   The Hybrid Defendants simply combine the Discount

Scheme and the Service Fee Scheme. Specifically, the Service Agreements utilized by the

Hybrid Defendants allow them to either    (l)   treat the Service Fee as a discount or (2) hide the off-

invoice price increase in the Service Fee. This allows the Hybrid Defendant to choose the

scheme that is most advantageous to its needs. However, regardless of its choice, the result is the

same-a fraudulent deflation of AMP.

         19.     Through these three schemes, the Discount Defendants, the Service                  Fee

Defendants, and the Hybrid Defendants knowingly reported, and continue to report, materially

deflated AMPs for the drugs governed by the Service Agreements (the "Relevant Drugs"). By
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purposely and materially understating their AMPs, the Discount Defendants, the Service Fee

Defendants, and the Hybrid Defendants paid and continue to pay materially inadequate rebates to

the Government Plaintiffs.

M.     JURISDICTION AND VENUE

       20.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. $1331,28 U.S.C. $1345,28 U.S.C. $1367, and       3l U.S.C.   53732.

       21.     This Court has personal jurisdiction over the Defendants pursuant to        3l   U.S.C.

$3732(a).

       22.     Venue is proper in the Northern District      of Illinois   pursuant   to 31 U.S.C. $
3732(a), because Defendants transact business in this District.

ry.    PARTIES

       23.     Relator Ronald J. Streck is a lawyer and pharmacist. He has worked in the

pharmaceutical industry for more than 40 years in various capacities, including sales, regulatory

affairs and association management. He served eleven years as the president and chief executive

officer of the Healthcare Distribution Management Association, representing drug wholesaler

members, and then worked as the president and chief executive officer           of Rx Distribution
Network ("the Network"), representing a group of regional drug wholesalers.

       24. In his capacity as CEO of the Network, Relator has negotiated the terms of
agreements between pharmaceutical manufacturers and the wholesalers the Network represents,

including the types of agreements at issue in this qui tam action Through his work, Relator

became thoroughly familiar     with the Service Agreements that manufacturers, including
Defendants, execute with wholesalers. Relator discovered that Defendants, as             a matter of
contract, misreported and continue to misreport pricing data to govemment programs.
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        25.     The United States was defrauded though the schemes outlined above and is a

plaintiff in this action. Throughout the Relevant Time Period, the United States Department of

Health and Human Services ("HHS") and the Centers for Medicare                & Medicaid Services
("CMS") were agencies of the United States and their activities, operations and contracts were

paid from United States funds.

        26.     The following states were also defrauded through these schemes: California,

Colorado, Connecticut, Delaware, Florida, Georgia, Hawaii, Illinois, Indiana, Iowa, Louisiana,

Maryland, Massachusetts, Michigan, Minnesota, Montana, Nevada, New Jersey, New Mexico,

New York, North Carolina, Oklahoma, Rhode Island, Tennessee, Texas, Virginia, Washington,

Wisconsin, and the District of Columbia ("Plaintiff States"). The Plaintiff States are plaintiffs in

this action. Throughout the Relevant Time Period, Defendants' Relevant Drugs were provided

to Medicaid recipients in each of the Plaintiff States, and those prescriptions were paid for in part

by the Plaintiff States' respective Medicaid programs.

        27.    Defendant Actavis,     LLC (referred to herein as "Watson") is a           Delaware

corporation, formerly known as Watson Pharma, Inc., and is headquartered at 400 Interpace

Parkway, Parsippany, New Jersey 07054. During the Relevant Time Period, the company's

Relevant Drugs were paid for by the Government Plaintiffs, and the company materially and

fraudulently underpaid its Medicaid rebate obligations to the Government Plaintiffs.

       28.     Defendant Astellas Pharma US, Inc., (referred to herein as "Astellas"), formerly

Fujisawa Healthcare, Inc., is headquartered at Three Parkway North, Deerfield, Illinois 60015.

During the Relevant Time Period, the company's Relevant Drugs were paid for by the

Government Plaintiffs, and the company materially and fraudulently underpaid its Medicaid

rebate obligations to the Government Plaintiffs.
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         29.   Defendant Berlex, Inc. (referred to herein as "Berlex") is a Delaware corporation,

headquartered at 6 West Belt, Wayne, New Jersey 07470. During the Relevant Time Period, the

company's Relevant Drugs were paid for by the Government Plaintiffs, and the company

materially and fraudulently underpaid its Medicaid rebate obligations            to the Government
Plaintiffs.

         30.   Defendant Boehringer Ingelheim Pharmaceuticals, Inc. (referred           to herein as
"Boehringer Ingelheim"), is a Delaware corporation, headquartered at 900 Ridgebury Road,

Ridgefield, Connecticut 06877. During the Relevant Time Period, the company's Relevant

Drugs were paid for by the Govemment Plaintiffs, and the company materially and fraudulently

underpaid its Medicaid rebate obligations to the Govemment Plaintiffs.

         31.   Defendant Celgene Corporation (referred to herein as "Celgene"), is a Delaware

corporation, headquartered   at 86 Morris Avenue, Summit, New Jersey 07901. During                the

Relevant Time Period, the company's Relevant Drugs were paid              for by the Govemment
Plaintiffs, and the company materially and fraudulently underpaid its Medicaid rebate obligations

to the Government Plaintiffs.

         32.   Defendant Daiichi Sankyo, Inc. (referred to herein as "Daiichi"), is headquartered

at Two Hilton Court, Parsippany, New Jersey 07054. During the Relevant Time Period, the

company's Relevant Drugs were paid for by the Government Plaintiffs, and the company

materially and fraudulently underpaid its Medicaid rebate obligations           to the Govemment
Plaintiffs.

        33.    Defendant   Eli Lilly and Company (referred to herein     as   "Lilly"), is an Indiana
corporation, headquartered at   Lilly Corporate Center, Indianapolis, Indiana 46285. During       the

Relevant Time Period, the company's Relevant Drugs were paid             for by the     Government



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Plaintiffs, and the company materially and fraudulently underpaid its Medicaid rebate obligations

to the Government Plaintiffs.

        34.    Defendant First Horizon Pharmaceutical Corporation now known as Shionogi Inc.

(referred to herein as "First Horizon") was a Delaware corporation, headquartered in Alpharetta,

Georgia. In June of 2006, First Horizon changed its name to Sciele Pharma Inc. Then, in 2008,

Shionogi Inc. acquired Sciele Pharma    Inc.   During the Relevant Time Period, the company's

Relevant Drugs were paid for by the Government Plaintiffs, and the company materially and

fraudulently underpaid its Medicaid rebate obligations to the Government Plaintiffs.

        35.    Defendant JOM Pharmaceuticals Services, Inc. (referred to herein as "JOM"), is a

New Jersey corporation, headquartered at       I   Cottontail Lane, Somerset, New Jersey, 08873.

During the Relevant Time Period, the company's Relevant Drugs were paid for by the

Government Plaintiffs, and the company materially and fraudulently underpaid its Medicaid

rebate obligations to the Government Plaintiffs.

       36.     Defendant Merck    & Co.,Inc. (referred to herein as "Merck"),   is a New Jersey

corporation, headquartered at One Merck Drive, Whitehouse Station, New Jersey 08889. During

the Relevant Time Period, the company's Relevant Drugs were paid for by the Government

Plaintiffs, and the company materially and fraudulently underpaid its Medicaid rebate obligations

to the Government Plaintiffs.

       37.     Defendant Organon USA, Inc. (referred to herein as "Organon"), is a New Jersey

corporation, headquartered at 56 Livingston Avenue, Roseland, New Jersey 07068. During the

Relevant Time Period, the company's Relevant Drugs were paid            for by the     Government

Plaintiffs, and the company materially and fraudulently underpaid its Medicaid rebate obligations

to the Govemment Plaintiffs.



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         38.   Defendant Roche Laboratories, Inc. (referred to herein as o'Roche"), is a Delaware

corporation, headquartered at 340 Kingsland Street, Nutley, New Jersey 07110. During the

Relevant Time Period, the company's Relevant Drugs were paid               for by the     Government

Plaintiffs, and the company materially and fraudulently underpaid its Medicaid rebate obligations

to the Government Plaintiffs.

         39.   Defendant Santarus, Inc. (referred       to   herein as 'oSantarus"), is   a   Delaware

corporation, headquartered at 10590 West Ocean         Air Drive, Suite 200, San Diego, California
92130. During the Relevant Time Period, the company's Relevant Drugs were paid for by the

Govemment Plaintiffs, and the company materially and fraudulently underpaid its Medicaid

rebate obligations to the Govemment Plaintiffs.

         40.   Defendant Takeda Pharmaceuticals America, Inc. (referred to herein as "Takeda")

is a Delaware corporation, headquartered at One Takeda Parkway, Deerfield, Illinois 60015.

Takeda   is a wholly owned subsidiary of Takeda Pharmaceuticals Company Ltd. of                 Japan.

During the Relevant Time Period, the company's Relevant Drugs were paid for by the

Government Plaintiffs, and the company materially and fraudulently underpaid its Medicaid

rebate obligations to the Govemment Plaintiffs.

       41.     Defendant Teva Pharmaceuticals USA, Inc. (referred to herein as "Teva/Barr") is

a Delaware corporation, headquartered at 1090 Horsham Road, North Wales, Pennsylvania,

19454. Teva acquired Barr Laboratories, Inc. in 2008. Bar Laboratories operates as a

subsidiary of Teva. During the Relevant Time Period, the company's Relevant Drugs were paid

for by the Government Plaintiffs, and the company materially and fraudulently underpaid its

Medicaid rebate obligations to the Government Plaintiffs.




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V.        THE APPLICABLE LAW

          A.     The Federal and State False Claims Acts

          42.    The Federal False Claims Act ("FCA"),       3l   U.S.C. SS 3729-3733, provides, inter

alia, that any person who knowingly presents, or causes to be presented, a false or fraudulent

claim for payment or approval, or any person who knowingly makes, uses, or causes to be made

or used, a false record or statement material to a false or fraudulent claim, is liable to the United

States for treble damages and a   civil monetary penalty. 31 U.S.C . g 3729(a)(lXA)-(B).3

          43.   The FCA further provides that any person who knowingly makes, uses, or causes

to be made or used, a false record or statement material to an obligation to pay or transmit money

or property to the Government, or knowingly conceals or knowingly and improperly avoids or

decreases an obligation to pay or transmit money or property to the Government, is liable to the

United States for treble damages and a civil penalty. 31 U.S.C. g 3729(a)(l)(G).4

          44.   The terms "knowing" and "knowingly" are defined to mean "that a person, with

respect   to information (1) has actual knowledge of the information; (2) acts in             deliberate

ignorance of the truth or falsity of the information; or (3) acts in reckless disregard of the truth or

falsity of the information." 31 U.S.C. S 3729(b)(1XA)(i)-(iii). Proof of specific intent to defraud

is not required. 31 U.S.C. $ 3729(bX1)(B).

          45.   "[T]he term omaterial' means having a natural tendency to influence, or               be

capable of influencing, the payment or receipt of money or property." 31 U.S.C . S 3729(b)(4).



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  Prio. to the Fraud Enforcement and Recovery Act of 2009 ("FEIL{";, Public Law I 11-21 (enacted May
20,2009), Section 3729(a)(l)(A) was Section3729(a)(l), which imposed liability on any person who
"knowingly presents, or causes to be presented, to an officer or employee of the United States
Government or a member of the Armed Forces of the United States a false or fraudulent claim for
payment or approval."
o
  Prior to FERA, Section 3729(a)(l)(G) was formerly Section 3729(a)(7),which imposed liability on any
person who 'oknowingly makes, uses, or causes to be made or used a false record or statement to conceal,
avoid, or decrease an obligation to pay or transmit money or property to the Government."

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         46.   Each of the Plaintiff States has individually enacted a False Claims     Act.   Each   of
those Acts is modeled after the Federal FCA, and each contains provisions similar to those

quoted above. Relator asserts claims under the State FCAs for the State portion of Medicaid

false claims detailed in this complaint.

    B.   The Medicaid Drug Rebate Program

         47.   To curb mounting Medicaid program drug expenditures, Congress created the

Medicaid Drug Rebate Program ("Medicaid Rebate Program" or "Rebate Program") under the

Omnibus Budget Reconciliation Act          of 1990. To receive   Medicaid coverage for outpatient

prescription drugs, drug manufacturers are required to enter into a Medicaid Rebate Agreement

with the Secretary of Health and Human Services. see 42 u.s.c. g1396r-8(a)(1).

         48.   Under the Rebate Program, manufacturers pay a rebate to each individual state's

Medicaid progftlm for all outpatient pharmaceuticals paid for by that state's Medicaid program.

That is, Medicaid reimburses retail pharmacies for the cost of prescriptions and then, under the

terms of the Rebate Program, the state Medicaid programs receive rebates from manufacturers.

This process is designed to give Medicaid the benefit of the lowest price at which a manufacturer

sold a drug to any commercial customers.

         49.   Medicaid is   a   jointly-funded federal-state program. 42 U.S.C. g1396b(a)(\; a2

U.S.C. $1396r-8(b)(1XB). The amount paid by the federal govemment is known as the Federal

Matching Assistance Percentage ("FMAP").

         50.   Each state's request        for money from the      federal government and the

corresponding FMAP is submitted to CMS on Form CMS-64. This form includes exact dollar

figures reflecting the "Drug Rebate Offset" as well as a "Medicaid Drug Rebate Schedule." The

amount received by a state in Medicaid rebates is considered a reduction in the total amount

expended under the state's Medicaid      plan. Therefore, the less any individual   state receives   in
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Medicaid rebates, the greater the total amount expended by the state, and the more the federal

government must correspondingly pay to the state to meet the federal government's share of the

joint costs.

         51.      More specifically, each quarter, state Medicaid programs report to CMS their

utilization data- the quantity of each drug paid for by each state Medicaid progftrm during that

quarter. 42 U.S.C. $1396r-8(bx2). At or about the same time, manufacturers report to CMS the

AMPs of their drugs for that quarter. Id. $1396r-8(b)(3). Relying on the accuracy of the data

provided by manufacturers, CMS calculates the unit rebate amount ("URA";, which the states

then use to invoice each manufacturer for the rebate it owes.

         52.     The amount of the rebate on a generic drug is calculated as the product of:          (l)   the

total number of each dosage form and strength paid for during the rebate period ard (2) llo/o of

the AMP for the rebate period (or, from Jan. 1, 2010 to present, l3Yo of the AMP for the rebate

period. See The Patient Protection and Affordable Care Act, Pub. Law No. 111-148, $2501(a)

and (b); 42 U.S.C. $1396r-8(c)(3).

        53.      For a brand-name drug, the total amount owed by a manufacturer in rebates is the

sum of its two principal components: (1) the Basic Unit Rebate Amount ("Basic Rebate") and (2)

the Additional Unit Rebate ("Additional Rebate"). 42 U.S.C.          gl396r-8(c)(l).

        54.      The Basic Rebate for brand drugs is equal to the product of: (1) the total number

of each dosage form and strength paid for during the rebate period          and (2) the greater   of (a) the

difference between AMP and the Best Price ("BP")5 for the dosage form and strength of the

drug, or (b)   l5.l% of the AMP for the rebate period (or, from Jan. 1 , 2010 to the present , 23 .lyo

s
  Specifically, Best Price is "the lowest price available from the manufacturer during the rebate period to
any wholesaler, retailer, provider, health maintenance organization, nonprofit entity, or governmental
entity within the United States." See 42 U.S.C. $ 1396r-8(c)(lXCXi). Best Price includes all discounts,
rebates, or other price concessions.,See 42 U.S.C. $1396r-8(c)(1XCXiD.

                                                     l5
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of the AMP for the rebate period). See The Patient Protection and Affordable Care Act,                 Pub.

LawNo. I l1-148, $2501(a) and (b); 42 U.S.C. gl396r-8(c)(l).

        55.      When the percentage increase in AMP for a dosage form and strength of a drug

exceeds the percentage increase in the Urban Consumer Price Index          ("CPI") since the initial   sale

of the drug, the manufacturer owes an Additional Rebate.6 This additional rebate has the

potential to equal or, prior to 2009, exceed AMP.

         56-    During the Relevant Time Period, pharmaceutical prices for brand name drugs

have risen annually at a pace which far exceeds increases in the      CPI. Consequently, nearly every

one of the Defendants' price increases during the same period exceeded the growth in the CPI.

                 (i) The Definition of AMP

        57.     From the beginning of the Relevant Time Period until November 2010, the SSA

defined AMP as the "average price paid to the manufacturer for the drug in the United States by

wholesalers for drugs distributed to the retail pharmacy class of trade." 42 U.S.C. 91396r-8(k)(l)

Feb.2010).

        58.     The definition of AMP does not contain any temporal limitations. Specifically, a

manufacturer must include all price increases in its calculation of AMP, even if the price increase

occurs after the sale of a product.T In fact, AMP regulations contain express provisions placing a




6
 See 42 U.S.C. $1396r-8(c)(2) (describing the calculation of additional rebate as the amount by which the
AMP "for the dosage form and strength of the drug for the period exceeds the [AMP] for ... the calendar
quarter beginning July 1, 1990 ... increased by the percentage by which the consumer price index for all
urban consumers for the month in which the rebate period begins exceeds such index for September
1990").
7
 ,See Section   VII(B). The Defendants' Service Agreements contain "Price Appreciation Clauses." These
"Price Appreciation Clauses" allow the Defendants to increase the price of a drug after the wholesaler has
already purchased the drug. Thus, a wholesaler could purchase a drug for $100, but owe the manufacturer
additional compensation due to a post-sale price increase. This is precisely why AMP regulations place a
continuing duty on manufacturers to revise their AMP calculations for up to three years following their
initial reporting of AMP.42 C.F.R. g 447.510(b).

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continuing duty on manufacturers to report any revisions to AMP for up to three years following

the date on which AMP was originally reported to the government. 42 C.F.R. $ 447.510(b).

       59.      The definition of AMP confirms that: 1) discounts are included in AMP (because

they lower the price "paid to the manufacturer");2) fees paid in exchange for services should be

excluded from AMP, because such fees are payment                 for legitimate services    rendered by

wholesalers (and thus are not related to drug prices); and 3) all price increases, regardless           of
when they occur, should be included in AMP.

       60.      Through the rulemaking process, CMS promulgated a regulation effective July

2007 vthich stated what was already clear: bona fide Service Fees are excluded from the

calculation of AMP. 72Fed.Reg. 39142 (July 17, 2007) (codified at 42 C.F.R.Part 447) (*2007

AMP Regulation"X"AMP excludes ... [b]ona fide service fees"). 42 C.F.R.           S   447.504(h)(19).

       61   .   The 2007 AMP Regulation defined bona fide service fees as:

                Fees paid  by a manufacturer to an entity, that represent fair market value for a
                bonafide, itemized service actually performed on behalf of the manufacturer that
                the manufacturer would otherwise perform (or contract for) in the absence of the
                service arrangement; and that are not passed on in whole or in part to a client or
                customer of an entity, whether or not the entity takes title to the drug.

42 C.F.R. $ 447.s02.

       62.      This defrnition encompasses the following four elements:

                l) The fee paid must be for a bona           fide, itemized   service that   is   actually
                performed on behalf of the manufacturer;

                2)   The manufacturer would otherwise perform or contract for the services in the
                absence of the service arangement;

                3) The fee represents fair market value;   and

                4)   The fee is not passed on in whole or in part to a client or customer of an entity.




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See   7l   Fed. Reg. 69624, 69667-9 (Dec. 1, 2006) (ASP regulations' definition of bona fide

service fees); 72 Fed. Reg. 39142, 39182 (2007 AMP Regulation expressly adopts the

interpretation of the definition of bona fide service fees as set forth in the ASP regulations).

CMS interprets the first two elements 'to encompass any reasonably necessary or useful services

of value to the manufacturer that are associated with the efficient distribution of drugs." 71 Fed.

Reg. at 69667-9. With respect to the third element that the fee must represent fair market value,

CMS recognizes that it is appropriate to either calculate fair market value for a set of itemized

services, or to calculate fair market value on a per-service basis. 1d. As to the fourth element

that the fee is "not passed on," if the fee meets the first three requirements, the manufacturer may

presume    it was not passed on to a client or customer of an entity. Id.

           63.   In November 2A10, the definition of AMP was re-codified to specifically         state

what was already clear, i.e., that bonafide service fees are excluded from AMP:

                 (i)    In general.   -   The average manufacturer price for a covered outpatient drug
                 shall exclude   -
                 (ll)bona fide service fees paid by manufacturers to wholesalers or retail
                 community pharmacies, including (but not limited to) distribution service fees,
                 inventory management fees, product stocking allowances, and fees associated
                 with administrative service agreements and patient care programs (such as
                 medication compliance programs and patient education programs);

42 U.S.C. $ 13e6r-8(k)(1).

        64.      As to the Discount Defendants, the Medicaid Rebate Statute again expressly states

that discounts must be included in AMP: "afly discounts, rebate payments, or other financial

transactions that are received by, paid by, or passed through to, retail community pharmacies

shall be included in the [AMP] for a covered outpatient drug." Id.

        65.      Further, in the Proposed AMP Rule issued on February 2,2012, the govemment

expressed concerns that manufacturers are improperly treating bona               fide service fees   as


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discounts: "We continue to be concerned that these [bona fide service] fees could be used as a

vehicle to provide discounts, as opposed to fees at'fair market value' for bona fide services.

Thus, to avoid potential fraud concerns, we are retaining our definition [of bona fide service

feesl." Medicaid Program; Covered outpatient Drugs, 77 Fed. Reg. 5319, 5332 (Feb.                          2,

2012)(to be codified at 42 C.F.R. pt 447, subpt. I).

                  (ii) The Medicaid Rebate Agreement

        66.       The Medicaid Rebate Agreement entered into by all manufacturers participating

in Medicaid   -   which includes all of the Manufacturer Defendants in this lawsuit           -   states that

AMP is "the average unit price paid to the Manufacturer for the drug ... by wholesalers."

Medicaid Rebate Agrmt, $      I(a).   The Rebate Agreement further clarifies that "AMP includes

cash discounts allowed and all other price reductions       ... which   reduce the actual price paid,." Id.

Also, the Rebate Agreement requires manufacturers to revise AMP for previous quarters                      if
"discounts or other arrangements subsequently adjust the prices actually realized." Id.

       67.        Again, the definition of AMP confirms that:       l)   discounts are included in AMP

(because they lower the price "paid to the manufacturer"); 2) fees paid          in exchange for services

should be excluded from AMP, because such fees are payment for legitimate services rendered

by wholesalers (and thus are not related to drug prices); and 3) all price increases, regardless of

when they occur, should be included in AMP. See also CMS, Medicaid Drug Rebate Program

Release No. 29 (June 5,1997) (requiring that       "[a]ll pricing adjustments affecting the price of any

sales must be taken into account   if the   sales were included in the calculation of   AMP").




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                (iii) The Medicaid Rebate Operation Training Guide

        68.     The Medicaid Rebate Operational Training Guide, Fl         l   (2001), states that AMP

 should be reduced by discounts:

                Basically, AMP is calculated as NET quarterly sales divided by the number of
                units sold.

                'Net quarterly sales" are derived after all required   adjustments are made (e.g.,
                discounts, rebate for state-only programs, breakage, etc.).

                (iv) AMP Includes Discounts and Excludes Service Fees
                     Throughout the Relevant Time Period

        69.     Although the AMP statute, the AMP regulation, the Rebate Agreement, and the

Medicaid Rebate Operational Training Guide have been amended over time, four obligations

have remained consistent. First, discounts are included         in AMP    because they affect prices

actually realized by manufacturers. Second, fees paid in exchange for services rendered are not

discounts. Third, off-invoice price increases cannot be excluded from AMP by including those

price increases in a self-serving definition of Service Fees or by offsetting Services Fees with

off-invoice price increases. Fourth, off-invoice price increases, regardless of when they occur,

must be included in AMP calculations.

       70.      In addition, there is a parallel statutory drug pricing benchmark     -   average sales

price ("ASP")   -   which directly corroborates Relator's statement of the law.

       71.      ASP is a pricing benchmark which applies to Medicare Part B, while AMP is a

pricing benchmark which applies to Medicaid, it also serves a similar function to: limit or "cap"

the government's prescription drug costs.

       72.      ASP expressly states that discounts should be included in the ASP calculation. 42

U.S.C. $ 1395w-3a(cXl),(c)(3). Further, in2006,CMSenactedASPregulations definingbona

fide Sewice Fees. The regulations expressly re-affirmed that Service           Fees are payments for


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legitimate services rendered (and thus are not related      to the price of the drug), and         thus

manufacturers must exclude bona      fide Services Fees from ASP.    See Fed. Reg. 69624, 69668

(Dec. 1, 2006) (relevant sections codified at 42 C.F.R. $ 414.802,414.804).

        73. All else being equal, the higher the AMP, the larger the Medicaid             rebate a drug

manufacturer must pay. Conversely, the lower the AMP, the less a drug company must pay in

Medicaid rebates.

VI.     The Streck Opinion in the Related Action

        74.    In his July 2012 ruling on defendants' motion to dismiss in the related action,

("Streck Opinion"), Judge Robreno held in part that Relator's case should proceed against the

Discount Defendants for all false claims presented after January    l,   2007   .   The Court's holding

with regard to the Discount Defendants was based on the contractual language in the Service

Agreements    for the Discount Defendants. The contractual language found in the                Service

Agreements for the Defendants named in this complaint is effectively the same as the language

in the Service Agreements for the Discount Defendants in the related action.

        75.    Specifically, the District Court for the Eastern District of Pennsylvania found that

Relator pled sufficient evidence to show that Discount Defendants were 'oat least reckless" for

classifying statutorily-defined bona fide service fees as discounts. Streck Opinion, p. 29. The

bonafide services that the Discount Defendants fraudulently mischaracterizedinclude:

              1.   Data reporting;
              2. Maintenance of target inventory levels;
              3. Pick, pack, and ship services;
              4. Accounts receivable managemen!
              5. Contract and chargeback administration;
              6. Retums processing;
              7. Customer service support;
              8. Inventory management;
              9. Submitting 852 datalnventory Reports; and
              10. SubmittingS6T data Inventory Reports.


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       76.         Further with regard to the Service Fee Defendants, the Streck Opinion dismissed

those claims and rejected Plaintiff           s   argument that these Defendants had knowingly

underreported the AMPs for their drugs by failing to factor in retroactive price appreciation

credits or retroactive price increases, which caused the government to receive less in Medicaid

rebates. Plaintiff subsequently filed a motion to alter the judgment on July 30,2012, arguing that

AMPs must be calculated based on the price paid to the manufacturer, not the profit obtained by

the wholesaler and also that the statutory and regulatory framework established that AMP is not

limited to initial payments. On November 16, 20l2,the Court denied the motion         as   procedurally

untimely. On December 10, 2012, Plaintiff moved for the Court to certify as a partial final

judgment its Order dated July 3, 2012 dismissing the claims against the Service Fee Defendants

which the Court denied on August 2,2013.

VII.   DEFENDANTS' SCHEMES TO DEFRAUD GOVERNMENT PAYERS

       77.         Starting no later than2004, manufacturers and wholesalers developed a new trade

structure that involved the use          of   Service Agreements. Under Service Agreements,

manufacturers periodically pay wholesalers Service          Fees. Service Fees are calculated by
multiplying   a   wholesaler's gross purchases of a manufacturer's product by a certain percentage.

       78.        The Service Agreements at issue in this case differ in certain particulars, but many

of the primary services provided by wholesalers pursuant to Service Agreements are as follows:

           o      Distribution Services - buying, storing, packing, and shipping drugs from the
                  manufacturer to customers. This includes emergency delivery services -
                  delivering the manufacturer's products on an emergency 24171365 basis.

          o       Data Reporting services         -
                                                  generating daily, weekly,   or monthly inventory
                  reports (EDI 852 data) and sales reports (EDI 867 data).

                  The inventory reports (852 data) provides the manufacturer with aggregate sales,
                  the wholesaler's inventory levels (on-hand and on-order), demand forecasts,


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                 "morgue inventory" (returned goods), special needs forecast by the distributor for
                 particular events, units ordered by customers, and orders filled by the wholesaler.

                 The sales reports (867 data) provides the manufacturer with specific information
                 regarding the distributors' customers, including the identity and location of the
                 customer, and the amounts ordered and amounts returned by the customer.

             o   Inventory Management - maintaining an adequate supply of the manufacturer's
                 drugs in inventory without "over-purchasing" drugs in anticipation of a price
                 increase (also known as 'ospeculative buying" or "spec buying"), including using
                 automated inventory balancing systems, and maintaining environmentally
                 controlled storage facilities.

        79.      Other categories of services, described more fully below, include:

             o   Chargeback and retums processing services
             o   Customer service support
             o   New product launch services
             o   Consolidated deliveries to providers
             o   Consolidated account receivable management
             o   The provision of sophisticated ordering technology

        80.      These services, according to CMS, are bona    fide   sewices because they provide

"value to the manufacturer that [is] associated with the efficient distribution of drugs" and

represent fair market value.   7l   Fed. Reg. at 69667-9.

        A.       The Discount Defendants' Scheme

        81.      Under the law defining AMP during the Relevant Time Period, all discounts are

included in AMP. The practical effect of including a discount in AMP is to lower AMP by the

amount of the discount.

        82.      As noted above, each of the services provided for in the Service Agreements has

real value to the manufacturer. That is to say, in the absence of wholesalers to perform these

services, the manufacturer would have to pay third parties to perform the services (or perform

those services on its own at a substantial internal cost).




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        83.    Distribution services, including emergency delivery services, are valuable to

Defendants.    If   wholesalers did not provide distribution services   to the manufacturers,        the

manufacturers would be required to pay a third party logistics company       - e.g., FedEx - to pick
up, pack, and ship its products. These costs can be particularly high when emergency delivery is

needed on a24171365 basis.

        84.    The 852 inventory data service is valuable to Defendants      -   among other things,   it
permits Defendants to use a series of numeric metrics to make critical decisions regarding when

and how much of their products need to be manufactured.     If the wholesalers did not provide      852

data services to the manufacturers, the manufacturers would be required to pay a third party for

this information, including aggregate sales data, inventory levels (on-hand and on-order),

demand forecasts, o'morgue inventory" (returned goods), special needs forecasts for particular

events, units ordered by customers, and orders filled.

       85.     The 867 sales data service is valuable to Defendants     -    among other things, it

permits Defendants to understand who their customers are (including their "problem" customers

who retum an undue amount of products), md, conversely, to see which potential customers are

not buying from the manufacturer (and, this, who the manufacturer should target for
marketing/sales). If the wholesalers did not provide 867 data services to the manufacturers, the

manufacturers would be required to pay a third party for this information.

       86.     Inventory management services are valuable        to Defendants. By            requiring

wholesalers to maintain an adequate supply of the manufacturer's drugs           in inventory, without
"over-purchasing" drugs in anticipation of a price increase (also known as "speculative buying"),

manufacturers are able     to retain profits, which would      otherwise inure        to   wholesalers.

Additionally, by requiring wholesalers to use and maintain environmentally-controlled storage



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facilities for inventory, manufacturers avoid the cost and expense of paying a third party to store

its products in such an environment.

        87.    Based     on the   Service Agreements themselves,          the Discount    Defendants

fraudulently charucteized their Service Fee payments              to   wholesalers   as   "discounts,"

"concessions," "reductions," "credits,"    or "credit memos," as opposed to what they           were:

payments for bona fide services rendered. Since discounts, by law, are included in AMP, this

artificial device created by the Discount Defendants worked:       it served to reduce AMP by the
amount of the "discount," "concession," "reduction,"'ocreditr" or "credit memo." Consequently,

the Discount Defendants knowingly and fraudulently understated their rebate obligations to the

Government Plaintiffs.

       B.      The Service Fee Defendants' Scheme

       88.     As noted above, bona fide service fees are excluded from AMP. Thus, to the

extent a manufacturer can disguise a price increase by offsetting it against a Service Fee, which it

excludes from its AMP calculations, the price increase    will not cause the manufacturer's AMP     -
and its rebate obligations to the Govemment Plaintiffs   - to rise as it should.
       89.     Also as noted above, the Service Agreements executed by the Service Fee

Defendants contain "price appreciation"       clauses. These clauses provide that when a
manufacturer increases its prices, the Service Fee owed by the manufacturer to the wholesaler is

lowered by the amount of the wholesaler's units in inventory, multiplied by the amount of the

price increase. No invoice is sent from the manufacturer to the wholesaler for these price

increases. Instead, the Service Fee Defendants simply reduce the Service Fees owed to the

wholesaler by the amount of the price increase on inventory. Thus, when a manufacturer raises

the price of a drug, that price increase applies to the wholesaler's inventory, even though the



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wholesaler previously purchased that inventory at a lower price. The Service Fee Defendants

thereby bury these off-invoice price increases in their accounting for Service Fees.8

            90.     "Price appreciation" on inventory a wholesaler has previously purchased at          a

lower price, therefore, is a retroactive price increase that manufacfurers must include in their

AMP calculations. The effect of the offset against the Service Fee, however, is to conceal the

price increase and to illegally exclude       it   from the calculation of AMP. Excluding the price

increase from AMP directly contravenes 42 C.F.R. $ 447.510(b), which places a continuing duty

on manufacturers to report any revisions (e.g., post-sale price increases) to AMP for up to three

years following the date on which AMP was originally reported to the government.

            91.     The Service Fee Defendants' definition of Service Fee has enorrnous evidentiary

and legal impact:

                       The legal definition of AMP excludes bonafide Service Fees.

                       As a matter of contract, the Service Fee Defendants defined Service Fees in a
                       manner which'oabsorbed" off-invoice price increases on inventory.

                       The Service Agreements provide direct written evidence that the Service Fee
                       Defendants crammed off-invoice price increases into their respective
                       definitions of Service Fees.

                       Since Service Fees are excluded from AMP, and the Service Fee Defendants
                       included off-invoice price increases in their calculation of Service Feeq a
                       priori, the Service Fee Defendants knowingly did not factor off-invoice price
                       increases into their AMP calculations.

                   o   This knowing failure violated the Medicaid Rebate Statute and the Medicaid
                       Rebate Agreement, and caused substantial financial harm to the Government
                       Plaintiffs.

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    It   should be noted that during the Relevant Time Period, the Relator attended numerous industry
conferences which addressed Service Agreements. The issue of appreciation clauses as they relate to and
affect service fees, rebates and reimbursements was not disclosed or discussed to the Relator,s
knowledge. Nor did comments by the industry regarding the proposed CMS Rule on AMP ever mention
or discuss the presence of price appreciation clauses. See Federal Register, Yo.72, No. 136 (July 17,
2007), 42 C.F.R. Part 447 [CMS-223 8-FC].


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         92.    In sum, the law requires manufacturers to factor all price increases into AMP. 42

 C.F.R. $ 447.510(b). Defendants knowingly failed to include off-invoice prices increases on

inventory into their AMP calculations, thereby fraudulently reducing their rebate obligations to

the Govemment Plaintiffs.

         C.     The Hybrid Scheme

         93. A few of the Defendants'       Service Agreements include elements from both the

Discount Scheme and the Service Fee Scheme. These "Hybrid Defendants" are able to elect the

option of (1) treating the Service Fee as a discount and/or (2) hiding the off-invoice price

increase in the Service Fee. This allows the manufacturer to choose the scheme(s) that are most

advantageous to its needs. However, regardless of its choice, the result is the   same-a fraudulent

deflation of AMP.

V[I.     Snecific Allegations Aeainst Each Defendant

         A.    Discount Defendants

               1.     Boehringer Inselheim

         94.   Boehringer Ingelheim is a Discount Defendant. See attached Exhibits C and D.

         95.   Boehringer Ingelheim and a national wholesaler executed a "Distribution Services

Performance Agreement" ("2005 Boehringer Ingelheim Agreement"), effective January           !,2005
for a term of three years, which will automatically renew for one twelve (12) month term. 2005

Boehringer Ingelheim Agreement $ 2.0.

         96.   Boehringer Ingelheim and a different national wholesaler executed a "Distribution

Performance Agreement" ("2008 Boehringer Ingelheim Agreement"), effective             April 1, 2008
through June 30, 2010, which   will automatically renew for one twelve (12) month term. Id.       S


2.0.



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        97.    According to the 2008 Boehringer Ingelheim Agreement, the purpose            of the
agreement is "to define a mutually beneficial relationship between [Boehringer Ingelheim] and

[the national wholesaler] in order to achieve [Boehringer Ingelheim]'s goals of high patient level

product availability, high levels of consumer and pharmacy confidence in the integrity and

quality of [Boehringer Ingelheim] Product, and achievement of a collaborative, transparent, and

cost-effective distribution system." 2008 Boehringer Ingelheim Agreement $      l.
        98.    Section 6 of the 2008 Boehringer Ingelheim Agreement details the services that

the national wholesaler   will provide:

               o   Stocking and distributing Product;
               o   Maintaining appropriate inventory;
               o   Forecasting demand;
               o   Provide EDI 852 Product Activity Reports on a daily basis;
               o   Provide EDI 867 Product Activity Reports on a weekly basis;
               o   Refraining from Product Arbitrage; and
               o   Contractadministration.

Idat$6.

       99. In exchange for providing these services, Boehringer              Ingelheim agreed to

compensate the national wholesaler        with a "performance based DPA [Distribution Performance

Agreement] Payment" (i.e., a Service Fee). Id. at $ 8(b). The DPA Payment ranges up to 1.5Yo

of Adjusted Purchases. Id. at $   9(c){h). Although     the maximum DPA Payment will not exceed

l.5oh of Adjusted Purchases, this percentage is contingent upon the national wholesaler's

performance of the following services:

              o    For complying with the terms of the 2008 Boehringer Ingelheim Agreement,
                   the national wholesaler qualifies for a o'Base Payment of up to fifteen (15)
                   Basis Points." Id. at $ 9(c).

              o    The national wholesaler will receive 30 basis points if the Service Fill Rate
                   Range exceeds 98Yo, bfi will not receive any basis points if the Service Fill
                   Rate Range is below 96.5%. Id. at g 9(d).



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                   If the Inventory Level Goals exceed 12 days and are less than 18 days, then
                   the national wholesaler will receive 45 basis points. Id. at $ 8(e). However, if
                   the Inventory Level Goals are less than 12 days, but more than 30 days, the
                   national wholesaler will receive 0 basis points. 1d.

                   If the Demand Variability of Average Weekly Demand is less than 20Yo the
                   national wholesaler will receive 30 basis points, but if the Demand Variability
                   of Average Weekly Demand exceeds 40o/othen the national wholesaler will
                   receive 0 basis points. Id. at g 9(f).

                   If the Weekly Electronic Data is 100% complete, then the national wholesaler
                   will receive 20 basis points, but if the completeness is less thang}Yo or greater
                   than l l}Yothe national wholesaler will receive 0 basis points. Id. at $ 9(g).

                   Finally, if the national wholesaler provides no restricted data in the 867 data
                   reports, then it will receive 10 basis points, but will receive 0 basis points if
                   the restricted data exceeds 29%. Id. at g 9(h).

        100.   Thus, assuming the national wholesaler satisfies all performance requirements, it

will receive a DPA Payment of l.5Yo of Adjusted      Purchases.

        101.   The national wholesaler acknowledges that this DPA Payment is treated as a

discount. Id. at $ 6(k). Specifically, the national wholesaler 'oacknowledges that the prompt pay

discount and the DPA Payment paid hereunder are functional discounts and, as such,          will   be

fully and accurately reported,   as required, under Section   ll28B(b) of the Social Security Act."

Id.

        102.   In the 2005 Boehringer Ingelheim Agreement, executed with a different national

wholesaler, Boehringer Ingelheim also made DPA Payments             to the national wholesaler for
performing the same types        of   services as described   in the 2008 Boehringer     Ingelheim

Agreement. 2005 Boehringer Ingelheim Agreement $ 6. The calculation of the DPA Payment in

the 2005 Boehringer Ingelheim Agreement is identical to the calculation of the DPA Payment in

the 2008 Boehringer Ingelheim Agreement. Id. at $ 9(b).




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         103.      The national wholesaler acknowledges that this DPA Payment may be treated as a

discount. Id. at $ 6(k). Specifically, the national wholesaler "acknowledges that the prompt pay

discount and the DPA Payment paid hereunder may be discounts and, as such, may be required

to be fully and accurately reported, as required, under Section 112SB(b) of the Social Security

Act." Id.

         104.     However, Boehringer Ingelheim "acknowledges that [the national wholesaler's]

position is that the DPA payment is not a discount but a bona fide fee for service." Id.

         105.     Further evincing the bona fide natrxe of the services, is the fact that both parties

agree that "the relationship between [Boehringer Ingelheim] and [the national wholesaler] is that

of an independent contractor." Id. at $ la(e); 2005 Boehringer Ingelheim Agreement $ l4(e).

Thus, the agreements were negotiated at arm's length and for fair market value.

         106.     Not only are the services for which Boehringer Ingelheim pays the DPA Payment

strikingly similar to the bona fide services the Service Fee and Discount Defendants pay to the

wholesalers in the related action, but the national wholesaler in the 2005 Boehringer Ingelheim

Agreement explicitly states its position "that the DPA payment is not a discount but a bona fide

fee for sewice."     Id. In addition to this acknowledgment,   CMS classifies these same services as

bona   fide   because they provide o'value to the manufacturer that   [is] associated with the efficient

distribution of drugs." 71 Fed. Reg. at 69667-9.

         107. Despite the clear regulatory and statutory              guidance directing Boehringer

Ingelheim to classifr these services as bona fide services, Boehringer Ingelheim fraudulently

elects to classify these services as "discounts" and uses these oodiscounts" to underreport its AMP

calculations. 2008 Boehringer Ingelheim Agreement at $ S(b).




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         108. As discussed in detail above, bona fide service                  fees are excluded from AMP by

 statute, regulation, the Medicaid Rebate Agreement,                    md the Medicaid Rebate      Operational

Training Guide. In defiance of the law, Boehringer Ingelheim improperly classifies bona fide

service fees as "discounts," which causes             it to understate its AMP, and, as a result,     underpay

Medicaid rebates it owes to the Govemment Plaintiffs.

         109.    During the Relevant Time Period, Defendant Boehringer Ingelheim participated

in the Medicaid Program and Boehringer Ingelheim's Relevant Drugs were paid for by all of the

Govemment Plaintiffs.

         110.    The Boehringer Ingelheim Agreements, discussed in detail above, improperly

characterize bona    fide   sewice fees as discounts and, thereby, illegally understate its AMP

calculations.

         l1l.    By understating its AMP calculations, Boehringer Ingelheim:                (l) caused CMS to
underreport the unit rebate amounts               to the   states, (2) underpaid     its Basic and Additional
Medicaid rebates, (3) caused the states to receive less in rebates than they were entitled to, and

(4) caused the federal govemment to pay more than it should have in FMAP funds to the states.

As a result of this fraudulent conduct, Boehringer Ingelheim violated Section 3729(a)(l)(A), (B)

and (G) of the Federal False Claims Act and comparable sections of the State False Claims Acts.

                )       JOM
        ll2.    JOM is a Discount Defendant. See attached Exhibits I, J and K.

        I13.    JOM and a national wholesaler executed a "Distributor Performance Agreemenf'

("JOM Agreement"), effective January 1, 2008 for                a   term of two years, which will automatically

renew for successive twelve (12) month terms. JOM Agreement at $ 13. This JOM Agreement

supersedes a previous distribution agreement entered into by the parties on                April 27, 2005 and,

still in effect as of January   1,   2008.   Id   $$ 1,12.2
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         lI4.       The purpose of the JOM Agreement is for the wholesaler to provide distribution

services to     JOM. In addition to stocking and distributing JOM drug products, the wholesaler

specifically agrees to provide JoM with the following services, among others:

                    o   Maintain target Service Level Unit Fill Rates;
                    o   Maintain target inventory levels;
                    o   Maintain minimal open deductions; and
                    o   Provide daily Product Activity Data (EDI 852) and Product Transfer and
                        Resale Report Data (EDI 867).

Id   at $$ 5.2,7.9.

         115.       In exchange for providing these services, JOM agreed to compensate the national

wholesaler with a performance-based "DPA Payment." Id. at             5.L   The DPA Payment ranges up

to   1.05o/o   of   gross purchases less various adjustments.       Id.   Although the maximum DPA

Pa5rment   will not      exceed 1.05%    of gross purchases, this percentage is contingent upon the
wholesaler's performance of the following services:

               o    The wholesaler will receive 55 basis points if the Service Level Unit Fill Rate
                    Range exceeds 98%o, burt will not receive any basis points if the Service Level
                    Unit Fill Rate Range is below 96.5%. Id. at g 5.2.1.

               o If the Effective Inventory Level is less than 30 days then the wholesaler               will
                    receive 10 basis points. Id. at S 5.2.2. However, if the Effective Inventory Level
                    is greater than 30 days then the wholesaler will not receive any basis points. 1d.

               o    Finally, if wholesaler maintains an Open Deductions percentage less than or equal
                    to .20Yo then it will qualify for 40 basis points. Id. at $ 5.2.3. If the wholesaler's
                    Open Deductions percentage is equal to or exceeds .35Yo then the wholesaler will
                    not receive any basis points. Id

         116.       Thus, assuming the wholesaler satisfies all the performance requirements,       it   has

the opportunity to receive a DPA payment of 1.05o/o of gross purchases.

         ll7.       The DPA payment is calculated with the following formula:




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                                  Gross Direct Purchases during Calendar Quarter
                                       x Basis Points earned by [Wholesaler]
                                                  : Gross amount
                                           Less: Inventory Appreciation
                                          :  Inventory Adjusted Amount
                                          less : Unauthorized Deductions
                                                  : DPA Payment
Id. at $ 5.1.

         118. The wholesaler acknowledges      that the Adjusted Payment (cited as the "Inventory

Adjusted Amount" in the preceding paragraph) is a discount. Id. at $         6.2. Specifically, the
wholesaler o'shall fully and accurately report this discount." Id.

        119.    The services provided by the wholesaler to JOM are virtually identical to the

services at issue in the related action. Specifically, the Court in the Streck Opinion held that, in

the face of "the change in the statutory and regulatory landscape          in 2007,' the required
knowledge of falsity could be inferred by failing to classift these services as bona fide. Streck

Opinion atp.29.

        120. Further evincing the bonafide      nattxe of the services is the factthat both parties

agree that "the relationship between JOM and [the national wholesaler] is that of an independent

contractor." JOM Agreement $ 8. Thus, the agreement was negotiated at arm's length and for

fair market value.

        l2l.    Additionally, CMS classifies these same services as bona fide because they

provide "value to the manufacturer that [is] associated with the efficient distribution of drugs"

and represent fair market value. 71 Fed. Reg. at 69667-9.

        122. Despite   the clear regulatory and statutory guidance directing JOM to classify

these services as bona   fide   services, JOM fraudulently elects    to classify   these services as




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"discounts" and utilizes these "discounts" to deflate its AMP calculations. JOM Agreement              $

6.2.

          123. As discussed in detail above, bona fide service fees are excluded from AMP by
statute, regulation, the Medicaid Rebate Agreement,          ffid the Medicaid Rebate        Operational

Training Guide. In defiance of the law, JOM improperly classifies bona fide service fees              as

"discounts," which causes it to understate its AMP, and, as a result, underpay Medicaid rebates it

owes to the Government Plaintiffs.

          124. During     the Relevant Time Period, Defendant JOM participated in the Medicaid

Program and JOM's Relevant Drugs were paid for by all of the Govemment Plaintiffs.

          125.   The JOM Agreement, discussed in detail above, improperly charucterizes bona

fide   service fees as discounts and, thereby, illegally understates its AMP calculations.

          126. By understating its AMP calculations, JOM: (l)        caused CMS     to underreport the

unit rebate amounts to the states, (2) underpaid its Basic and Additional Medicaid rebates, (3)

caused the states to receive less in rebates than they were entitled to, and (a) caused the federal

government to pay more than       it   should have in FMAP funds to the states. As a result of this

fraudulent conduct, JOM violated Section 3729(a)(l)(A), (B) and (G)             of the Federal    False

Claims Act and comparable sections of the State False Claims Acts.

                 3.      Roche

         127.    Roche is a Discount Defendant. See attached Exhibit O.

         128. Roche      and a national wholesaler executed a "Distribution Services Agreement"

("Roche Agreement") on an unspecified date, most likely in or around September 2005, which is

effective going forward unless canceled by either party within thirty days' notice. The Roche

Agreement amended and supplemented a Wholesale Distribution Agreement already in place

between the parties.

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          129.    According to the Roche Agreement, the purpose of the agreement is to "protect[]

patient safety and the integrity of the pharmaceutical supply chain, and to allow Roche to better

serve its customers and manage its       inventory." Roche Agreement $ A.

          130.    Section A details the services the national wholesaler provided to Roche:

                  o     Purchase Roche products exclusively from Roche;
                  o     Not knowingly sell products into altemate markets, which could be resold for
                        speculation purposes;
                  o     Maintain consistent target inventory levels;
                  o     Maintain consistent target return levels;
                  o     Provide Roche with complete and accurate 852 data sets on a daily basis;
                  o     Provide Roche with complete and accurate 867 data sets on a daily basis;
                  o     Maintain consistent purchase patterns; and
                  o     Provide Roche with pricing contract and chargeback administration.

/d   at $$   (AXl-e).

          l3l . In return for providing these    services, Roche   will provide the national wholesaler

with a "price concession." Id. $         A.   Specifically, Roche agreed to compensate the national

wholesaler with a "rebate" equal to "one hundred (100) basis points on all quarterly invoiced

Product purchases." 1d. at $        B.   This "rebate" serves as a "price concession[]" on products

purchased by the national wholesaler. Id.; Id. at g F.

          132.    The services provided by the wholesaler are virtually identical to the services at

issue   in the Streck Opinion. Specifically, the Court in the Streck Opinion held that, in the face of

"the change in the statutory and regulatory landscap e in 2007 ," the required knowledge of falsity

could be inferred by failing to classify these services as bona fide. Streck Opinion at p. 29.

         133. Additionally, CMS classifies these same services as bona fide              because they

provide "value to the manufacturer that [is] associated with the efficient distribution of drugs"

and represent fair market value. 71 Fed. Reg. at 69667-9.




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        134.    Despite the clear regulatory and statutory guidance directing Roche to classifu

these services as bona Jide services, Roche fraudulently elected to classify payment for these

services as "rebates" and "price concessions," thereby allowing Roche                 to   fraudulently

underreport AMP. Roche Agreement $ B; Id. at $ F.

        135. As discussed in detail above, bona fide service         fees are excluded from AMP by

statute, regulation, the Medicaid Rebate Agreement, and the Medicaid Rebate Operational

Training Guide. In defiance of the law, Roche improperly classifies bona fide service fees           as

"rebates" and "price concessions," which causes         it to understate its AMP, and, as a result,
underpay Medicaid rebates it owes to the Government Plaintiffs.

        136.   During the Relevant Time Period, Defendant Roche participated in the Medicaid

Program and Roche's Relevant Drugs were paid for by all of the Government Plaintiffs.

        137. By understating    its AMP calculations, Roche: (1) caused CMS to underreport the

unit rebate amounts to the states, (2) underpaid its Basic and Additional Medicaid rebates, (3)

caused the states to receive less    in rebates than they were entitled to, and (a) caused the federal

government to pay more than     it   should have in FMAP funds to the states. As a result of this

fraudulent conduct, Roche violated Section 3729(a)(l)(A), (B) and (G) of the Federal False

Claims Act and comparable sections of the State False Claims Acts.

               4.     Takeda

       138.    Takeda is a Discount Defendant. See attached Exhibit e.

       139.    Takeda and a national wholesaler executed a "Wholesaler Services Agreement"

("Takeda Agreement"), effective December 19, 2006 for a period of three (3) years, which will

automatically renew for subsequent one-year terms. Takeda Agreement at $ 3.2. This Takeda

Agreement terminated the prior Wholesaler Services Agreement between the parties which was

effective as of April 1,2005. Id.    S 3.1.

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          140. According to the Takeda Agreement, the purpose         of the agreement is to provide

Takeda with certain services, which include, but are not limited         to "distribution, inventory
management, reporting, and contract administration" seryices. Id. at p. 1.

          l4l.   Exhibit A details the "Schedule of Services" the national wholesaler provided to

Takeda:

                     Maintaining adequate, but not excessive, availability of supply and inventory
                     management;
                 a   Maintain weekly demand variability;
                 a   Submit 852 data Inventory Reports;
                 o   Submit 867 datalnventory Reports;
                 a   Provide contract and chargeback administration; and
                 o   Provide chargeback reconciliation for the 844 and 849 data sets.

Id. atBxhibit A.

         142. In exchange for providing these services,         Takeda agreed    to   compensate the

national wholesaler with a Service Fee up to l.l5o/o "of WAC on all Products purchased from

Takeda during the relevant quarter." Id. atExhibit    B. In order to achieve the maximum      Service

Fee   of l.lsyo, the national wholesaler must satisfr the following performance-based    goals:

             o   The national wholesaler will receive 35 basis points if the Service Fill Rate
                 exceeds 98.5Yo, but will not receive any basis points if the Service Fill Rate is
                 below 98%. Id. at g II(C).

             o If the Inventory   Level Goals exceed 15 days or more, but are less than 2l days,
                 then the national wholesaler will receive 35 basis points. Id. at $ II(c).
                 However, if the Inventory Level Goals are less than 10 days the national
                 wholesaler will receive 0 basis points. 1d

             .   If the Electronic Data Submissions are on-time at least 95Yo of the time, then the
                 national wholesaler will receive 5 basis points. Id. at g IV(A).

             o If    the Electronic Data Submissions are      95%o complete during the relevant
                 calendar quarter, then the national wholesaler will receive 5 basis points. Id. at $
                 rv(B).

             o   If the "Days on Hand Variance" does not exceed three (3) days, then the national
                 wholesaler will receive 5 basis points. Id. at g IV(C).

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                   If the national wholesaler provides a "ComparativeYo" of 852 Data and 867 Data
                   greater than95%o, then Takeda will pay the national wholesaler 10 basis points.
                   Id. at$ IV(D).

             o     If the Demand Variability of Average Weekly Demand is less than20oh then the
                   national wholesaler will receive 20 basis points, but if the Demand Variability of
                   Average Weekly Demand exceeds 30%o then the national wholesaler will receive
                   0 basis points. Id. at g V(C).

Id.

        143.     Takeda uses this   l.l5%    Service Fee to reduce the net purchase price paid by the

national wholesaler. Id. at $ 2.6. Specifically, under the "Compliance and Reporting Section,"

Takeda and the national wholesaler agree that:

                 If any third party, including Medicare, Medicaid, the U.S. Department of Health
                 and Human Services or a State health care program requests any information
                 about the purchase price paid by Wholesaler for any Product, Wholesaler shall
                 provide such information and shall report the net purchase price (i.e.. the purchase
                 price less any payments received from Takeda pursuant to Section 2.4 above. for
                 all applicable units of Product purchased).

Id. (emphasis added).

        I44.     Thus, Takeda reduces the amount of the "purchase price" by the amount of the

Service Fee. Id.

        145.     The services provided by the wholesaler to Takeda are virtually identical to the

services at issue in the Streck Opinion. Specifically, the Court in the Streck Opinion held that, in

the face of "the change in the statutory and regulatory landscape           in   2007,- the required

knowledge of falsity could be inferred by failing to classiff these services as bona fide. Streck

Opinion atp.29.

        146. Additionally, CMS classifies these same services           as bona fide because they

provide "value to the manufacturer that [is] associated with the efficient distribution of drugs"

and represent fair market value.    7l   Fed. Reg. at 69667-9.



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          147. Despite the clear regulatory       and statutory guidance directing Takeda to classiff

these services as bona    fide services, Takeda fraudulently elected to classifu these services as
price reductions and applied these price reductions to its calculation of AMP.

          148.   As discussed in detail above, bona fide service fees are excluded from AMP by

statute, regulation, the Medicaid Rebate Agreement,           ffid the Medicaid   Rebate Operational

Training Guide. In defiance of the law, Takeda improperly includes these price reductions in its

AMP calculations, which causes it to understate its AMP, and, as a result, underpay Medicaid

rebates   it owes to the Government Plaintiffs.

          149.   During the Relevant Time Period, Defendant Takeda participated in the Medicaid

Program and Takeda's Relevant Drugs were paid for by all of the Government Plaintiffs.

          150. The Takeda Service Agreement,              discussed   in detail above, improperly
characterizes bona    fide   sewice fees as price reductions and, thereby, illegally understates its

AMP calculations.

          151.   By understating its AMP calculations, Takeda: (1) caused CMS to underreport the

unit rebate amounts to the states, (2) underpaid its Basic and Additional Medicaid rebates, (3)

caused the states to receive less in rebates than they were entitled to, and (a) caused the federal

government to pay more than       it   should have in FMAP funds to the states. As a result of this

fraudulent conduct, Takeda violated Section 3729(a)(l)(A), (B) and (G) of the Federal False

Claims Act and comparable sections of the State False Claims Acts.

                 5.     Teva/Barr

          152.   Teva/Barr is a Discount Defendant. See attached Exhibit R.

          153.   Teva/Barr and     a national   wholesaler executed   a "Third Party Service    and

Management Agreement" ("Teva/Ban Agreement"), effective            April 1,2009 through March    31,



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 2011.    Thereafter, the Teva/Bar Agreement renews automatically              for   successive one-year

periods. Teva/Barr Agreement at $ l.

         154. According to the Teva/Barr      Agreement, the purpose of the agreement is for the

national wholesaler     to   provide various distribution services    "in      exchange    for t...]   the

Administrative Fee." Id.     atp.I.
         155.   Section 3 details the "Third Party Services" the national wholesaler provides to

Teva/Barr:

                o    Stock, pack, and ship services; and
                .    Salesadministration.

Id. at $ 3.

         156. In exchange for providing        these Third Party Services, Teva./Barr agreed to

compensate the national wholesaler    with an Administrative Fee of   4.60/o   of Customer Net    Sales.

Id. at $ 4.      Teva/Barr and the national wholesaler "acknowledge and agree that the

Administrative Fee [...] has been determined by the parties through good faith and arms-length

negotiations." Id. at $ a(C). Thus, the Administrative Fee represents fair market value.

        157.    The Agreement covers Teva./Barr products with "labeler codes (the "supplier

Labeler Codes") 00093, 00172,00182, 00555 (excluding the branded product ADDERALL@),

00703 and 50111 (the "Products")." Id. at $ 3.

        158. Teva/Barr clearly recognized the Administrative Fee as a discount.                    The

Teva/Barr Agreement states the following:

        Reporting Obligations. To the extent [the national wholesaler] receives rebates,
        incentives or any other price reductions (including without limitatiorrthe Administrative
        Fee) from [Teva/Barr] as a result of its purchases of Product (collectively, the "pnge
       Reductions"), [Teva/Barr] must, pursuant to its obligations under 42 C.F.R.
                                                                                              $
       1001.952(h)(2XiiiXB), fully and accurately report such Price Reductions on any invoices,
       coupons or statements submitted by [Teva/Barr] documenting the payment of such price
       Reductions.


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1d at $ s(E).

         159. Thus,     according     to the    terms   of the Teva/Barr Agreement, Teva/Barr
acknowledges that the Administrative Fee is a "price reduction." Id.

         160.   The services provided by the wholesaler to Teva/Barr are virtually identical to the

services at issue in the Streck   Opinion. Specifically, the Court in the Streck Opinion held that, in

the face of "the change in the statutory and regulatory landscape            in 2007,' the required
knowledge of falsity could be inferred by failing to classifu these services as bona fide. Streck

Opinion atp.29.

         161. Additionally, CMS classifies these same services as bona fide because they
provide "value to the manufacturer that [is] associated with the efficient distribution of drugs"

and represent fair market value. 71 Fed. Reg. at 69667-9.

         162.   Despite the clear regulatory and statutory guidance directing Teva/Barr to classifr

these services as bona fide services, Teva/Barr fraudulently elected to classifu these services as

"price reductions" and applied these "price reductions" to its calculation of AMP.

         163. As discussed in detail above, bona fide service       fees are excluded from AMP by

statute, regulation, the Medicaid Rebate Agreement, and the Medicaid Rebate Operational

Training Guide. In defiance of the law, Teva./Barr improperly includes these "price reductions"

in its AMP calculations, which       causes   it to understate its AMP,   and, as a result, underpay

Medicaid rebates it owes to the Government Plaintiffs.

         164. During the Relevant Time Period,           Defendant Teva,/Barr participated    in   the

Medicaid Program and Teva/Barr's Relevant Drugs were paid for by all of the Govemment

Plaintiffs.




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            165. The Teva/Barr         Service Agreement, discussed          in   detail above, improperly

characteizes bona fide service fees as "price reductions" and, thereby, illegally understates its

AMP calculations.

            166.   By understating its AMP calculations, Teva/Barr: (1) caused CMS to underreport

the unit rebate amounts to the states, (2) underpaid its Basic and Additional Medicaid rebates, (3)

caused the states to receive less          in rebates than they were entitled to, and (a) caused the federal

government to pay more than           it   should have in FMAP funds to the states. As a result of this

fraudulent conduct, Teva/Barr violated Section 3729(a)(l)(A), (B) and (G) of the Federal False

Claims Act and comparable sections of the State False Claims Acts.

        B.         Service Fee Defendants

                   1.       Celgene

            167.   Celgene is a Service Fee Defendant. See attached Exhibit E.

        168.       Celgene and a national wholesaler executed a "Distribution Services Agreement"

("Celgene Agreement"), effective            April l, 2005 for a period of three years. Celgene Agreement

at $ 3.1.

        169.       According to the Celgene Agreement, the purpose of the agreement is to provide

Celgene with certain services including, but not limited to, logistics, inventory management,

administrative, and financial services.

        170.       Section 2.1 details the "Base Distribution Services" the national wholesaler

provided to Celgene:

                   o    Sophisticatedorderingtechnology;
                   .    Daily consolidated deliveries to providers;
                   o    Emergency shipments to providers 24171365;
                   o    Consolidated accounts receivable management;
                   o    Contract and chargeback administration;
                   o    Returns processing;


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                 o   Customer service support;
                 o   Adequate working inventories to meet customer needs and service levels; and
                 o   Licensed, environmentally controlled, PDMA compliant secure facilities.

Id. at $ 2.1.

        l7l.     In addition to these Base Distribution Services, the national wholesaler agreed to

provide "Inventory Management Services" and "Data./Reporting Services." Id. at 55 2.2,2.3.

The Inventory Management Services include maintaining target inventory, purchase limits, and

ensuring minimal product shortages. The Data/Reporting Services include data reporting

services and customer monitoring.

        172.     Consistent with the above, Section 4.1 of the Celgene Agreement describes the

relationship between Celgene and the national wholesaler as that of a 'oservice buyer-seller."

Thus, the agreement was negotiated at arm's length and for fair market value.

        173. In      exchange      for   providing these Base Distribution Services, Inventory

Management Services, and Data./Reporting Services, Celgene agreed to compensate the national

wholesaler with a "Seryice Fee of 1.50o " that     will be "paid quarterly   based on the total volume

of all Products purchased by [the national wholesalerf." Id. at p.7   .



        174.     Schedule    A to the Celgene Agreement explains that the Service Fee will be offset

by "Service Fee Credits." Id. at Schedule A. Specifically, Celgene "will receive credit toward

[the] Service Fee for the following items:

           a.   Price Appreciation on Aggregate Inventory after a Customer pricing action.

           b.   Margin earned on quarterly promotions, deals, off-invoice allowances, or any other
                method, excluding those that are intended for [the national wholesaler's]
                Providers.

rd.




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         175.   Thus, Celgene reduces the Service Fee by the amount of the Service Fee Credits

(i.e., off-invoice price increases). By retroactively increasing the price of its drugs, Celgene

realizes the benefit of this increased sales price, while, at the same time, failing to report this

price increase in its AMP calculations. This failure causes Celgene to materially underpay its

Medicaid rebates.

         176.    As discussed in detail above, bona fide service fees are excluded from AMP by

statute, regulation, the Medicaid Rebate Agreement,              ffid the Medicaid Rebate       Operational

Training Guide. Given the Streck Opinion and the bona fide nature                      of the services    the

wholesaler provides   to Celgene, the express terms of the Celgene               Agreement indicate that

Celgene treats the Service Fees       it pays   as   bonafide, thus "allowing" Celgene to exclude those

fees from its calculations of   AMP. Therefore, by netting off-invoice price           increases against the

Service Fees, Celgene improperly excludes price increases from its AMP calculations, in tum

understates   its AMP, and consequently underpays the rebates              it   owes   to the   Government

Plaintiffs.

         177. During the Relevant Time                 Period, Defendant Celgene participated        in   the

Medicaid Program and Celgene's Relevant Drugs were paid for by all                     of the Govemment
Plaintiffs. Further, the prices on Celgene's drugs increased during the Relevant Time period,

often at a greater percentage than the CPI-U.

        178.    By understating its AMP calculations, Celgene: (1) caused CMS to underreport

the unit rebate amounts to the states, (2) underpaid its Basic and Additional Medicaid rebates, (3)

caused the states to receive less     in rebates than they were entitled to, and (a) caused the federal

government to pay more than      it   should have in FMAP funds to the states. As a result of this




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fraudulent conduct, Celgene violated Section 3729(a)(l)(A), (B) and (G) of the Federal False

Claims Act and comparable sections of the State False Claims Acts.

                  2.       Daiichi

        179.      Daiichi is a Service Fee Defendant. See attached Exhibit F.

        180.      Daiichi and a national wholesaler executed a "Distribution Services Agreement"

("Daiichi Agreement"), effective July 1,2004 for        a   term of three years. Daiichi Agreement $ 9.

        181. According to the Daiichi         Agreement, the purpose of the agreement is to "define

more precisely the amount and manner of payment of the consideration to be received by [the

national wholesaler] for its performance of [various distribution services] ." Id. atp.    l.
        182.      Sections   I   and   2 of the Daiichi     Agreement detail the services the national

wholesaler provides to Daiichi:

                  o    EDI 852 Product Activity Reports on a weekly basis;
                  o    EDI 867 Product Activity Reports on a weekly basis;
                  o    Monitor customer ordering patterns;
                  o    Contract and chargeback administration;
                  o    Retums processing;
                  o    Customer service support;
                  o    Adequate working inventories to meet customer needs and service levels;
                  o    Licensed, environmentally controlled, PDMA compliant, secure facilities; and
                  o    Provide promotional marketing programs and services.

1d at $$   l-2.

        183. In        exchange   for providing these services, Daiichi agreed to       compensate the

national wholesaler with a Service Fee "equal to 3.l5Yo of the immediately previous calendar

quarter's gross [...] purchases." Id. at Exhibit   A.   This Service Fee is then reduced by any price

increases.   1d Specifically:

                  [The national wholesaler] will issue [Daiichi] credits to be applied to the above
                  [Service Fee] anytime [Daiichi] has a price increase on any Products (the "Price
                  Increase Credits"). The Price Increase Credit will be equal to any inventory



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                  appreciation [the national wholesaler] receives on its inventory of [Daiichi]'s
                  products on-hand or on-order immediately prior to [Daiichi]'s price increase.

rd.

        184.      Thus, Daiichi reduces the Service Fee by the amount of the Price Increase Credits

(i.e., off-invoice price increases). By retroactively increasing the price of its drugs, Daiichi

realizes the benefit of this increased sales price, while, at the same time, failing to report this

price increase in its AMP calculations. This failure causes Daiichi to materially underpay its

Medicaid rebates.

        185.      Furthermore, should the Price Increase Credit exceed the Service Fee, the national

wholesaler   will credit or refund the amount in excess of the Service Fee back to Daiichi.            Id.

Therefore, as a result of the off-invoice price increases, the national wholesaler could effectively

become a debtor, even though it is the one providing the services.

        186.      Consistent with the above, Section        8.ll of the Daiichi Agreement describes the
relationship between Daiichi and the national wholesaler as that of a "service buyer-seller."

Thus, the agreement was negotiated at arm's length and for fair market value.

        187. As discussed in detail above, bona fide service fees are excluded from AMP by
statute, regulation, the Medicaid Rebate Agreement,              ffid the Medicaid Rebate    Operational

Training Guide. Given the Streck Opinion and the bona fide nature of the services the

wholesaler provides to Daiichi, the express terms of the Daiichi Agreement indicate that Daiichi

treats the Service Fees   it pays   as   bonafide, thus "allowing" Daiichi to exclude those fees from its

calculations of   AMP. Therefore, by netting off-invoice price        increases against the Service Fees,

Daiichi improperly excludes price increases from its AMP calculations, in tum understates its

AMP, and consequently underpays the rebates it owes to the Government Plaintiffs.




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        188.   During the Relevant Time Period, Defendant Daiichi participated in the Medicaid

Program and Daiichi's Relevant Drugs were paid            for by all of the Government Plaintiffs.
Further, the prices on Daiichi's drugs increased during the Relevant Time Period, often at a

greater percentage than the CPI-U.

        189.   By understating its AMP calculations, Daiichi:      (l)   caused CMS to underreport the

unit rebate amounts to the states, (2) underpaid its Basic and Additional Medicaid rebates, (3)

caused the states to receive less    in rebates than they were entitled to, and (a) caused the federal

government to pay more than     it   should have in FMAP funds to the states. As a result of this

fraudulent conduct, Daiichi violated Section 3729(a)(l)(A), (B) and (G) of the Federal False

Claims Act and comparable sections of the State False Claims Acts.

               3.      First Horizon

       190.    First Horizon is a Service Fee Defendant. See attached Exhibit H.

       l9l.    First Horizon and a national wholesaler executed a "Distribution and Inventory

Management Services Agreement" ("First Horizon Agreement"), effective January 1,2005 for a

term of one (1) year which    will    automatically renew for subsequent one-year periods. First

Horizon Agreement at $ 3.1.

       192. According      to the First Horizon Agreement, the purpose of the agreement is for the

national wholesaler to provide First Horizon with certain services including, but not limited to,

logistics, inventory management, administrative, and financial services. Id.      atp.l; Id. at $ 2.1.
       I93.    Section 2.1 details the "Base Seryices" the national wholesaler provided to First

Horizon:

               o    Sophisticatedorderingtechnology;
               .    Daily consolidated deliveries to providers;
               o    Emergency shipments to providers 24171365;
               .    Consolidated accounts receivable management;


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                   o   Contract and chargeback administration;
                   o   Returns;
                   o   Customer service support;
                   o   Adequate working inventories to meet customer needs; and
                   o   Licensed, environmentally controlled, PDMA compliant secure facilities.

Id. at $ 2.1.

          194. In      exchange    for providing these Base Services, First Horizon        agreed to

compensate the national wholesaler        with a o'Base Service Fee of 5.00% [that] will be calculated

and paid annually based on ll0o/o of the total volume" purchased by the national wholesaler.       /d
atp.10.

          195. However, First Horizon "will         receive credit towards [the] Service Fee for the

following items:

             a.   Price Appreciation on Aggregate Inventory after a Customer pricing action.

             b.   Margin earned on quarterly promotions, deals, off-invoice allowances, post price
                  increase allocations, or any other method, excluding those that are intended for
                  [the national wholesaler' s] Providers.

rd.

        196. Thus, First Horizon reduces the Service Fee by the amount of its Price
Appreciation (i.e., off-invoice price increases). By retroactively increasing the price of its drugs,

First Horizon realizes the benefit of this increased sales price, while, at the same time, failing to

report this price increase in its AMP calculations. This failure causes First Horizon to materially

underpay its Medicaid rebates.

        197. Further evincing the bona fide nature of the services is the fact that both parties
agree that   "[t]he relationship between First Horizon and [the national wholesaler] is that of an

independent contractor." First Horizon Agreement             $ 4.1.   Therefore, the agreement was

negotiated at arm's length and for fair market value.



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         198. Additionally,     both parties memorialized the bona fide nature of the payment for

services in Section 2.6:

                First Horizon entered into this Agreement to receive the services and obligations
                set forth herein by [the national wholesaler]. As consideration for these services
                and obligations of [the national wholesaler], First Horizon agrees to pay the fees
                set forth in Attachment A.

Id. at $ 2.6.

        199.    This clause conhrms that the agreement was negotiated at arm's length and for

fair market value.

        200.    As discussed in detail above, bona fide service fees are excluded from AMP by

statute, regulation, the Medicaid Rebate Agreement,        ffid the Medicaid Rebate    Operational

Training Guide. Given the Streck Opinion and the bona fide nature of the services the

wholesaler provides to First Horizon, the express terms of the First Horizon Agreement indicate

that First Horizon treats the Service Fees it pays as bonafide, thus "allowing" First Horizon to

exclude those fees from its calculations     of AMP. Therefore, by netting off-invoice       price

increases against the Service Fees, First Horizon improperly excludes price increases from its

AMP calculations, in turn understates its AMP, and consequently underpays the rebates it owes

to the Government Plaintiffs.

        201.    During the Relevant Time Period, Defendant First Horizon participated in the

Medicaid Program and First Horizon's Relevant Drugs were paid for by all of the Government

Plaintiffs. Further, the prices on First Horizon's drugs increased during the Relevant Time

Period, often at a greater percentage than the CPI-U.

        202. By understating its AMP          calculations, First Horizon:    (1) caused CMS    to

underreport the unit rebate amounts      to the   states, (2) underpaid   its Basic and Additional
Medicaid rebates, (3) caused the states to receive less in rebates than they were entitled to, and


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(4) caused the federal govemment to pay more than it should have in FMAP funds to the states.

As a result of this fraudulent conduct, First Horizon violated Section 3729(a)(l)(A), (B) and (G)

of the Federal False Claims Act and comparable sections of the State False Claims Acts.

                4.       Lillv
        203. Lilly is a Service Fee Defendant.          See attached   Exhibit G.

        204. Lilly and a national wholesaler       executed a'oWarehousing and Distribution Service

Agreement" ("Lilly Agreement"), effective July            1,2002. Lilly     Agreement,   p. 1. The Lilly
Agreement was amended on January            l,   2005 by the "3rd Amendment         to Warehousing   and

Distribution Service Agreement" ("Lilly Amendment"), which extended the term of the Lilly

Agreement through December 31,2009. Lilly Amendment $ 3.

        205.    The purpose of the     Lilly Amendment is to clearly define the compensation         the

national wholesaler    will   receive for providing various distribution services. Specifically, the

wholesaler agreed to provide Lilly with the following services:

                o    Maintain inventory levels (total of on hand and on order) of Products of no
                     more than three (3) weeks ofNormal Requirements;

                o    Use best efforts to fill customer orders at a ninety-eight (98%), or greater,
                     Average Weighted Service Level during each calendar month;

                o    Provide Lilly, on a daily basis, with EDI 852 Data for all of the national
                     wholesaler's facilities that purchase and/or warehouse pharmaceutical
                     products;

                o    Provide Lilly, on a weekly basis, with EDI 867 Data for all of the national
                     wholesaler's facilities that purchase and/or warehouse pharmaceutical
                     products; and

                o    Provide Lilly with the national wholesaler's Average Service Levels on a
                     weekly basis.

Id. at $$ r-2




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         206.   In exchange for providing these services, Lilly agreed to compensate the national

wholesaler with a "Distribution Fee" as follows:

                                     Date                                             Basis Points
                   January   1,2005 - December    31,2005                                  90
                   January   1,2006 - December    31,2006                                  98
                   January   l, 2007 - December   31, 2007                                 105
                   January   l, 2008 - December   31,2009                                  108

Id. at $ 3.

        207.    This Distribution Fee (i.e., Service Fee) is paid on a quarterly basis.          Id.   The

Distribution Fee is "calculated by multiplying Lilly's quarterly sales of Products and including

crossdock and drop shipments, invoiced to the [national wholesaler], less Products returned by

the [national wholesaler] during the same quarter, by the appropriate Distribution Fee
percentage." Id.

        208.    Simply put, the Distribution Fee is a percentage of net sales.

        209.    Like the other Service Fee Defendants, Lilly pays the Distribution Fee through

off-invoice price increases on its products. Specifically:

                [The national wholesaler] shall receive the Distribution Fee through                    a
                combination of (1) the value of any price increase by Lilly during the quarter for
                Products in [the national wholesaler's] inventory ("Price Increase Value") and (2)
                a payment or credit by Lilly. The Price Increase Value for a Product shall be
                calculated by multiplying the price increase for the Product by the amount of
                inventory of such Product [the national wholesaler] has on the date of the price
                increase.

rd.
        2I0.    Lilly also acknowledges that its price   increases are so great that they may exceed

the amount of the Distribution Fee.       Id.   Specifically,   "[i]f   the Price Increase Value for all

Products for a quarter is greater than the total Distribution Fee, any excess shall be carried

forward and netted out of future quarterly payments." 1d. As a result, these off-invoice price

increases have the power to transform   Lilly from a debtor into a creditor.

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          211.    Consistent with the bona        fide nature of the Lilly Agreement, Section III (F)
describes the relationship between        Lilly and the national wholesaler as that of a 'oservice buyer-

seller." Lilly Agreement $ III (F). Thus, the agreement was negotiated at arm's length and for

fair market value.

          212.    As discussed in detail above, bona fide service fees are excluded from AMP by

statute, regulation, the Medicaid Rebate Agreement,              md the Medicaid Rebate           Operational

Training Guide. Given the Sneck Opinion and the bona fide nature                         of the services   the

wholesaler provides to Lilly, the express terms of the        Lilly Agreement and Amendment indicate

that   Lilly treats the Distribution   Fees   it pays as bona fide, thus "allowing" Lilly to exclude those

fees from its calculations of    AMP. Therefore, by netting off-invoice price            increases against the

Service Fees,     Lilly improperly      excludes price increases from its AMP calculations,           in tum

understates    its AMP, and consequently underpays the rebates               it   owes   to the   Government

Plaintiffs.

          213.    During the Relevant Time Period, Defendant Lilly participated in the Medicaid

Program and     Lilly's Relevant Drugs were paid for by all of the Government Plaintiffs. Further,

the prices on Lilly's drugs increased during the Relevant Time Period, often at a greater

percentage than the CPI-U.

          214.    By understating its AMP calculations, Lilly:       (l)   caused CMS      to underreport the

unit rebate amounts to the states, (2) underpaid its Basic and Additional Medicaid rebates, (3)

caused the states to receive less       in rebates than they were entitled to, and (a) caused the federal

govemment to pay more than         it   should have in FMAP funds to the states. As a result of this

fraudulent conduct,     Lilly violated     Section 3729(a)(l)(A), (B) and (G)        of the Federal     False

Claims Act and comparable sections of the State False Claims Acts.



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                   5.          Merck

         215.      Merck is a Service Fee Defendant. See attached Exhibit L.

         216.      Merck and a national wholesaler executed a "Product Distribution Program"

agreement ("Merck Agreement"), effective         April 1,2006. Merck Agreement    at p. 1.

         217.      According to the Merck Agreement, the purpose of the agreement is to provide

Merck with certain services including, but not limited to, logistics, inventory management,

administrative, and financial services.

         218.      Sections     2 through 3 detail the services the national wholesaler provided    to

Merck:

                   o    Prepare and provide 852 data;
                   o    Prepare andprovideS6T data;
                   o    Maintain target inventory levels;
                   o    Maintain target service levels;
                   o    Maintain target variability levels; and
                   o    Reduce the number of order locations.

Id   at $$ II(A)   - III(F).
         219.      In exchange for providing these bona fide services, Merck agreed to compensate

the national wholesaler with a performance-based fee ("Service Fee") ranging up to 92 basis

points   of   quarterly sales. Merck Agreement $$         II(A) - III(F). Specifically, the   national

wholesaler will receive:

         o    10 basis points if it complies with the conditions    in   Paragraph one   of the Merck
              Agreement. Id. at III(A).

         o    45 basis points if the average Days of Supply for a month are less than twenty-one
              (21) days and no basis points if the average Days of Supply exceed twenty-five Days
              of Supply. Id. atlll(B).

         o    12 basis points if the Service Level is greater than 98.5%o of the Unit Fill Rate.
              However, if the Service Level is under 97Yo,the wholesaler will not receive any basis
              points. Id. atlll(C).


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              10 basis points    if the national wholesaler   has an average Absolute Demand
              Variability percentage less than or equal to l5Yo. If the average Absolute Demand
              Variability is greater than25Yo, then the wholesaler will not receive any basis points.
              Id. attlr(D).

          o   10 basis points if the percentage of the 867 units sold and identified in detail is equal
              to or greater than 99Yo of the 852 units sold during the same month and no basis
              points if 867 units sold and identified in detail is less than 95o/o of the 852 units sold
              during the same month. Id. atIlI(E).

          o   5 basis points if there is a reduction equal to or greater than 75Yoin the number of
              ordering and receiving locations and no basis points if the reduction in ordering and
              receiving locations is less than 50Yo. 1d. at III(F).

          220.     Thus, assuming the national wholesaler satisfies all of the above performance

requirements, it   will receive a Service Fee of .92o/o multiplied by monthly sales. 1d at $$ II(A) -

rrr(F).

          221.   However, this Service Fee     will be reduced by Inventory Appreciation (i.e., off-

invoice price increases). Id. at $ V. Specifically:

          If the Days of Supply is greater than fifteen (15) Days on any NDC, then Merck will
          calculate the difference between the New Price and Old Price for each NDC affected by
          the price increase and multiply that difference by the number of units, rounded to the
          nearest whole unit, of that NDC in the Distributor's Aggregate Inventory that exceeds
          fifteen (15) Days of Supply as of the date of the price increase. The resultins dollar
          amounts will be subtracted from the quarterly Program fees for the quarter in which the
          price increase(s) occurred. If the dollar amount of the Inventory Appreciation
          Adjustment exceeds the quarterly Program fees" then the differential will carry forward
          and reduce anv future quarterly Program fees until the Adjustment is fully utilized.

Id. (emphasis added).

          222.   Thus, Merck reduces the Service Fee by the amount of the Inventory Appreciation

(i.e., off-invoice price increases). By retroactively increasing the price of its drugs, Merck

realizes the benefit of this increased sales price, while, at the same time, failing to report this

price increase in its AMP calculations. This failure causes Merck to materially underpay its

Medicaid rebates.



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        223.      Merck also acknowledges that its off-invoice price increases are so large that they

not only have the potential to satisfr the entire Service Fee Payment, but require an additional

contractual mechanism      to ensure that the off-invoice price        increases are carried forward to

reduce future Service Fees until the         full   amount   of the off-invoice price   increase has been

utilized. Id.

        224.      As discussed in detail above, bona fide service fees are excluded from AMP by

statute, regulation, the Medicaid Rebate Agreement, and the Medicaid Rebate Operational

Training Guide. Given the Streck Opinion and the bona fide nature of the services the

wholesaler provides to Merck, the express terms of the Merck Agreement indicate that Merck

treats the Service Fees   it pays as bonafide,thus "allowing" Merck to exclude those fees from its

calculations of   AMP. Therefore, by netting off-invoice price       increases against the Service Fees,

Merck improperly excludes price increases from its AMP calculations, in tum understates its

AMP, and consequently underpays the rebates it owes to the Government Plaintiffs.

       225.       During the Relevant Time Period, Defendant Merck participated in the Medicaid

Program and Merck's Relevant Drugs were paid for by all of the Government Plaintiffs. Further,

the prices on Merck's drugs increased during the Relevant Time Period, often at                 a greater
percentage than the CPI-U.

       226.     By understating its AMP calculations, Merck: (1) caused CMS to underreport the

unit rebate amounts to the states, (2) underpaid its Basic and Additional Medicaid rebates, (3)

caused the states to receive less     in rebates than they were entitled to, and (a) caused the federal

government to pay more than      it   should have in FMAP funds to the states. As a result of this

fraudulent conduct, Merck violated Section 3729(a)(l)(A), (B) and (G) of the Federal False

claims Act and comparable sections of the State False claims Acts.



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                6.       Santarus

         227.   Santarus is a Service Fee Defendant. See attached Exhibit p.

         228.   Santarus and a national wholesaler executed a "Channel Services Agreement"

("Santarus Agreement"), effective around 2004, which          will automatically renew for   successive

twelve (12) month terms. Santarus Agreement at $ 10.16.

         229.   According to the Santarus Agreement, the purpose of the agreement is "to define

a mutually beneficial relationship between Santarus and [a national wholesaler] in order to

achieve Santarus' goals of [an] effrcient distribution channel for product delivery by means         of
the services furnished by [the national wholesaler] .,, Id.   atp.l.
         230.   Section 5 details the services the national wholesaler provides to Santarus:

                o    Maintain target inventory service levels;
                .    Comply with the Base Agreement;
                o    Provide 852 datatransactions on a daily basis; and
                o    Provide 867 datatransactions on a weekly basis.

Id. atExhibit A.

         231. In exchange for providing these services,          Santarus agreed   to   compensate the

national wholesaler with a "CSA Payment" of 'oup to five hundred (500) basis points or 5.00%        of
Purchases." Id. at $ 4.5.

         232.   Specifically, the CSA Payment is based on satisfring the following perfonnance

goals:

                    For complying with the terms set forth in the Santarus Agreement, the
                    national wholesaler will receive up to 150 basis points. Id. at $ 4.5.1.

                    For a Service Fill Rate of 98Yo or higher, the national wholesaler will receive
                    250 basis points. However, if the Service Fill Rate falls below 95yo, the
                    national wholesaler will not receive any basis points. Id. at $ 4.5.2.

                    For providing complete, accurate, and weekly 867 data submissions, the
                    national wholesaler will receive up to 100 basis points. Id. at 5.9.
                                                                                   $

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          233.   The CSA Payment "is determined quarterly by multiplying Purchases by the sum

 of the   base payment plus service level payment plus the transparency payment minus any

 irreconcilable deductions minus any applicable inventory appreciation as discussed in section

4.4." Id.    Section 4.4 states that "santarus   will   reduce CSA Payment in the following quarter

after any such price increase by the value of the inventory appreciation recognized upon a price

increase taken." Id. at $ 4.4.

          234.   Exhibit A of the Santarus Agreement provides a detailed breakdown of the CSA

Payment calculations. Id. at $ 4.5. This breakdown clearly shows that "Inventory Appreciation"

(i.e., an off-invoice price increase) is deducted from the CSA Payment (i.e., Service Fee). Id. at

Exhibit A.

          235.   Thus, Santarus reduces the CSA Payment by the amount              of the Inventory
Appreciation (i.e., off-invoice price increases). By retroactively increasing the price of its drugs,

Santarus realizes the benefit    of this increased sales price, while, at the same time, failing to

report this price increase in its AMP calculations. This failure causes Santarus to materially

underpay its Medicaid rebates.

          236.   Specifically, the o'Inventory Appreciation" clause in Exhibit A states:

                        Santarus will reduce csA Payment in the following quarter after such
                        price increase by the value ofthe inventory appreciation recognized upon
                        a price increase taken. The inventory appreciation will be calculated as
                        the difference between (the Effective Inventory multiplied times New
                        Price) minus (the Effective Inventory multiplied times the old price).

Id.

        237.     Given this "Inventory Appreciation" clause,     it is clear that Santarus hides off-
invoice price increases in its CSA Payments.




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         238.   Further evincing the bona fide nature of the services is the fact that both parties

agree that "the relationship between Santarus and [the national wholesaler]              is that of    an

independent contractor." Santarus Agreement $        6.   Thus, the agreement was negotiated at arm's

length and for fair market value.

         239.   As discussed in detail above, bona fide service fees are excluded from AMP by

statute, regulation, the Medicaid Rebate Agreement,           ffid the Medicaid Rebate       Operational

Training Guide. Given the Streck Opinion and the bona fide nature of the services the

wholesaler provides   to Santarus, the express terms of the Santarus          Agreement indicate that

Santarus treats the CSA Payments as bona        fide, thus "allowing" Santarus to exclude those fees
from its calculations of AMP. Therefore, by netting off-invoice price increases against the CSA

Payment, Santarus improperly excludes price increases from its AMP calculations,                 in tum
understates   its AMP, and consequently underpays the rebates           it   owes   to the   Government

Plaintiffs.

        240. During the Relevant Time             Period, Defendant Santarus participated        in   the

Medicaid Program and Santarus' Relevant Drugs were paid for by                all of the Government
Plaintiffs. Further, the prices on Santarus' drugs increased during the Relevant Time Period,

often at a greater percentage than the CPI-U.

        241.    By understating its AMP calculations, Santarus: (1) caused CMS to underreport

the unit rebate amounts to the states, (2) underpaid its Basic and Additional Medicaid rebates, (3)

caused the states to receive less    in rebates than they were entitled to, and (a) caused the federal

government to pay more than     it   should have in FMAP funds to the states. As a result of this

fraudulent conduct, Santarus violated Section 3729(a)(l)(A), (B) and (G) of the Federal False

claims Act and comparable sections of the State False claims Acts.



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                7.         Watson

         242.   Watson is a Service Fee Defendant. See attached Exhibit S.

         243.   Watson and a national wholesaler executed a "Distribution Services Agreement"

 (o'Watson Agreement"), effective          July   l,   2005   for a period of two (2)   years, which will

automatically renew for additional one-year terms. Watson Agreement at $ 2.1.

         244.   According to the Watson Agreement, the purpose of the agreement is for Watson

to purchase logistics, administrative, financial, and inventory management services from the

national wholesaler   .   Id. at p.   l.
         245.   Section 2.1 details the "Base Distribution Services" the national wholesaler

provides to Watson:

                o   Sophisticatedorderingtechnology;
                o   Daily consolidated deliveries to providers;
                o   Emergency shipments to providers 24171365;
                o   Consolidatedaccountsreceivablemanagement;
                o   Contract and chargeback administration;
                o   Refurns processing;
                o   Customer service support;
                o   Adequate working inventories to meet customer needs and service levels; and
                o   Licensed, environmentally controlled, PDMA compliant secure facilities.

Id. at $ 2.1.

        246.    In addition to these Base Distribution Services, the national wholesaler agreed to

provide "Inventory Management Services" and "Data/Reporting Services." Id. at
                                                                              SS 2.2,2.3.

The Inventory Management Services include maintaining target inventory, purchase limits, and

ensuring minimal product shortages. The DatalReporting Services include data reporting

services and customer monitoring.

        247. In     exchange          for providing these Base Distribution Services, Inventory
Management Services, and DatalReporting Services, Watson agreed to compensate the national



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 wholesaler with a'oSeryice Fee of 3.5yo" that   "will   be calculated and paid quarterly based on the

 total volume of all Products purchased" by the national wholesaler. Watson Agreement at p. 8.

        248.   According to Schedule A of the Watson Agreement, the Service Fee is broken

 down as follows:

                    o   25 basis points for Base Distribution Services in accordance with Section
                        2.1

                    .   50 basis points for providing a National Logistics Center in accordance
                        with Section 2.6

                    o   100 basis points for providing Inventory Management Services in
                                 with Section 2.2
                        accordance

                    o   100 basis points for providing Data,/Reporting Services in accordance with
                        Section 2.3

                    o   50 basis points for providing Service level attainment in accordance with
                        Section 2.4

                    o   25 basis points for providing New Product Support in accordance with
                        Section 2.5

rd.

        249.   The3.5Yo Service Fee is then reduced by "service Fee Credits."         Id.   Specifically,

the "Service Fee payable by [Watson] to [the national wholesaler]      will   be net of the value of the

following items:

               The increase in value of [the national wholesaler's] inventory as a result of the
               announcement of a New Price by [Watson] during any quarter. The increase in
               value will equal the difference between the New Price and Old Price for Products
               multiplied by [the national wholesaler]'s on hand inventory of such Product on
               the date of the announcement of the New price.

rd.

        250-   Thus, Watson reduces the Service Fee by the amount of the price increase (i.e.,

off-invoice price increases). By retroactively increasing the price of its drugs, Watson realizes


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the benefit of this increased sales price, while, at the same time, failing to report this price

increase in its   AMP calculations. This failure causes Watson to materially underpay its Medicaid

rebates.

           251. The Base Distribution        Services, Inventory Management Services, and

Data/Reporting Services provided by the wholesaler        to Watson are virtually identical to the

services at issue in the Streck Opinion. According to the Streck Opinion, "there is no dispute"

that the Service Fee Defendants "had service agreements for bona fide services." Streck Opinion

at p.   32. Thus, given that the services described in the Watson Agreement are virtually identical

to the bona fide services contracted for by the Service Fee Defendants in the related action, it is

clear that the services contracted for by Watson are also bonafide.

          252.    Consistent with the above, Section 4.1 of the Watson Agreement describes the

relationship between Watson and the national wholesaler as that of a "seryice buyer-seller." Id.

at $ 4.1. Thus, the agreement was negotiated at arm's length and for fair market value.

          253.    As discussed in detail above, bonafide service fees are excluded from AMP by

statute, regulation, the Medicaid Rebate Agreement, and the Medicaid Rebate Operational

Training Guide. Given the Streck Opinion and the bona fide nature             of the services     the

wholesaler provides to Watson, the express terms of the Watson Agreement indicate that Watson

treats the Service Fees it pays as bonafide, thus "allowing" Watson to exclude those fees from

its calculations of AMP. Therefore, by netting off-invoice price increases against the Service

Fees, Watson improperly excludes price increases from its AMP calculations, in turn understates

its AMP, and consequently underpays the rebates it owes to the Govemment Plaintiffs.

          254.    During the Relevant Time Period, Defendant Watson participated in the Medicaid

Program and Watson's Relevant Drugs were paid for by            all of the Government     Plaintiffs.



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Further, the prices on Watson's drugs increased during the Relevant Time Period, often at a

greater percentage than the CPI-U.

             255.   By understating its AMP calculations, Watson: (1) caused CMS to underreport the

unit rebate amounts to the states, (2) underpaid its Basic and Additional Medicaid rebates, (3)

caused the states to receive less        in rebates than they were entitled to, and (a) caused the federal

govemment to pay more than              it should have in FMAP funds to the states. As a result of this
fraudulent conduct, Watson violated Section 3729(a)(l)(A), (B) and (G) of the Federal False

Claims Act and comparable sections of the State False Claims Acts.

             C.     Hvbrid Defendants

                    1.       Astellas

             256.   Astellas is a Hybrid Defendant. See attached Exhibit A.

             257.   Astellas and    a national   wholesaler executed     a "Core   Services Agreement"

("Astellas Agreement"), effective April I , 2005 through March 3l , 2010. Astellas Agreement             $

VIII(a).

             258.   The purpose of the Astellas Agreement is          to   "renegotiate and define more

precisely" the distribution and data services provided by the national wholesaler to Astellas.         1d.


atp.1.

             259.   Section 2 details the "Core Seryices" the national wholesaler provided to Astellas:

                    o    Contractadministration;
                    o    Chargebackprocedures;
                    o    Inventory and sales reports;
                    o    Additional inventory data;
                    o    Returns processing; and
                    o    Inventory management.

Id. at   S   Il.



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        260.    In exchange for providing these Core Services, Astellas agreed to compensate the

national wholesaler with a payment up to 1 .75Yo of gross purchases:

         Year One - [The national wholesaler] will be paid Compensation of l.25Yo of Gross
         Product Purchases by [the national wholesaler] for the period April l, 2005 through
         March 31,2006.

         Year Two   - [The national wholesaler] will be paid Compensation of l.5Yo of Gross
         Product Purchases by [the national wholesaler] for the period April 1, 2006 through
         March 31,2007.

         Year Three - Five - [The national wholesaler] will be paid Compensation of l.75Yo of
         Gross Product Purchases by [the national wholesaler] for the period April 1, 2007
         through March 31,2010.

Id. at Attachment C.

        261.   The Astellas Agreement "permits" Astellas to account for its service fee payments

as either: (a) a discount that reduces AMP or (b) a service fee, which is used to conceal off-

invoice price increases. Id. at $ IV (c).

        262.   Specifically, under the Government Reporting section of the Astellas Agreement:

               Each party   will be responsible for reporting the Compensation herein to
               Governmental Authorities as it deems appropriate under the applicable rules,
               laws, and regulations, including whether to report the Compensation as a price
               concession or as a service fee.

       Id. (emphasis added).

       263.    Thus, as detailed below, Astellas either improperly treated the service fees paid to

wholesalers as discounts or hid its off-invoice prices increases in the bona fide service fees (or

both). However, regardless of which scheme it executes, the result is the same-a fraudulent

understatement of AMP.

                       a.      Astellas' Discount Scheme

       264.    When Astellas treats service fees as discounts, it fraudulently understates AMP by

mischaracterizing bonafide service fees as "price concessions." Id. at $ IV (c).


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           265.   The services provided by the wholesaler to Astellas are virtually identical to the

 services at issue in the Streck   Opinion. Specifically, the Court in the Streck Opinion held that, in

 the face of o'the change in the statutory and regulatory landscape           in   2007,- the required

 knowledge of falsity could be inferred by failing to classifr these services as bona Jide. Streck

 Opinion atp.29.

          266.    Further evincing the bonafide nature of the services is the fact that both Astellas

and the national wholesaler agreed that "the parties to this CSA are independent contractors."

Astellas Agreement at $ IX     (f).   Thus, the agreement was negotiated at arm's length and for fair

market value.

          267.    Despite the clear regulatory, statutory, and industry guidance directing Astellas to

classifu payment for these services as bona fide sewice fees, Astellas fraudulently elected to

classifu payment for these services as "price concessions" and used these "price concessions', to

reduce its AMP calculations. Id. at g     IV (c).

          268.    As discussed in detail above, bona fide service fees are excluded from AMp by

statute, regulation, the Medicaid Rebate Agreement,          md the Medicaid Rebate       Operational

Training Guide. In defiance of the law, Astellas improperly classifies bona.fide service fees as a

"price concession" which causes it to understate its AMP, and, as a result, underpay Medicaid

rebates   it owes to the Govemment Plaintiffs.

                         b.     Astellas' Service Fee Scheme

          269.   When Astellas utilizes the Service Fee scheme, it similarly deflates its Medicaid

rebate obligations.

          270. Astellas' Core Services       Agreement allows the company       to reduce its AMp
calculations by concealing off-invoice price increases in its service fee paym ents. Id. at IV(b).
                                                                                           $



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These off-invoice price increases have nothing to do      with services, but are netted against service

fee payments to   "allow" Astellas to avoid increases in AMP.

        271.   Specifically, Astellas   "will   receive credit towards the Compensation in the event

of Price Appreciation on Aggregate Inventory after a Manufacturer price increase on the
Products. If the amount of such credit exceeds the Compensation, [the national wholesaler] will

pay Manufacturer the difference within forty-five (45) days after the end of the quarter." Id.

        272.   "Price Appreciation" is defined as "the difference between a New Price and an

Old Price on Aggregate Inventory after a Manufacturer price increase." Id. at p.2.

        273.   Thus, Astellas reduces the Compensation by the amount of the Price Appreciation

(i.e., off-invoice price increases). By retroactively increasing the price of its drugs, Astellas

realizes the benefit of this increased sales price, while, at the same time, failing to report this

price increase in its AMP calculations. This failure causes Astellas to materially underpay its

Medicaid rebates.

       274.    This Service Fee scheme contravenes statutory and industry guidance, because

Astellas is including off-invoice price increases, which should be incorporated in the calculation

of AMP, in the definition of bonafide service fee, which is explicitly excluded from AMP. This

scheme permits Astellas to understate its   AMP calculations and, as a result, materially underpay

its Medicaid rebate obligations.

       275.    During the Relevant Time Period, Defendant Astellas participated in the Medicaid

Program and Astellas' Relevant Drugs were paid for by all of the Government Plaintiffs.

       276.    By understating its AMP calculations, Astellas:       (l)   caused CMS to underreport

the unit rebate amounts to the states, (2) underpaid its Basic and Additional Medicaid rebates, (3)

caused the states to receive less in rebates than they were entitled to, and (4) caused the federal




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 govemment to pay more than       it   should have in FMAP funds to the states. As a result of this

 fraudulent conduct, Astellas violated Section 3729(a)(l)(A), (B) and (G) of the Federal False

 Claims Act and comparable sections of the State False Claims Acts.

                2.       Berlex

        277.    Berlex is a Hybrid Defendant. See attached Exhibit B.

        278.    Berlex artd a national wholesaler executed a "Wholesaler Service Agreement"

("Berlex Agreement"), effective July 1,2005 until June 30,2010, which automatically renews

for two successive year periods. Berlex Agreement at $ 5.1.

        279.    According to the Berlex Agreement, the purpose of the agreement is for the

national wholesaler "to provide Berlex with certain additional services with respect to the

distribution of Products." Berlex Agreement at p.      1.


        280.    Exhibit A details the Services the national wholesaler provides to Berlex:

                o    Maintain target inventory levels;
                o    Provide EDI 852 Product Activity Reports on a daily basis;
                o    Provide EDI 867 Product Activity Reports on a daily basis;
                o    Prepare and provide morgue reports;
                o    Prepare and provide Line Extension Reports;
                o    Maintain a98Yo Customer Service Level;
                o    Provide new product launch support; and
                o    Maintain defined service standards.

Berlex Agreement, Exhibit A.

        281. In exchange for providing these Services, "Berlex shall pay to Wholesaler a fee
(the'Service Fee') equal to l.8o/o of Gross Sales." Id. at $ 4.1. Both Berlex and the national

wholesaler "agree that the Service Fee represents fair market value." Id.

        282.   Additionally, the national wholesaler "warrants to Berlex that          it [] does not
directly or implicitly pass on, in whole or in part, Service Fees to its customers." Id. at $ 7.3(a).




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         283.   Berlex cannot dispute that the fees it paid for services are bonafide service fees.

 Under the Govemment Reporting section, the Berlex Agreement states the following:

         Berlex acknowledges that Wholesaler's position is that the fees are a bona fide fee for
         service provided under this Agreement. If any third party payer, including Medicare or
         Medicaid, or the U.S. Department of Health and Human Services or a State health care
         program requests any information about the purchase price paid by Wholesaler for
         Products under the Purchase Terms and Conditions, Wholesaler shall provide such
         information and shall report the net Product purchase price and, to the extent required by
         law or as requested by such third party payer, any Service Fees received under this
         agreement.

Id. at $ 7.3(d)(emphasis added).

        284.    Consistent with the Hybrid Scheme, the Berlex Agreement'opermits" Berlex to

account for its service fee payments as either: (a) a discount that reduces AMP or (b) a service

fee, which is used to conceal off-invoice price increases. Id. at $ 4.2.

        285.    Specifically, under the Compensation section of the Berlex Agreement:

                The Service Fee earned by Wholesaler shall be payable by Berlex in the form of:

                (a)    a credit issued to Wholesaler which may be used by Wholesaler for the
purchase of Products under the Purchase Terms and Conditions; and

               (b) the appreciation recognizable by Wholesaler with respect to On-Hand
Inventory and On-Order Inventory (to the extent not sold to Wholesaler at the increased price) at
the time of a price increase taken by Berlex on a Product calculated by multiplying the number
of units of Product which are the subject of the price increase in On-Hand Inventory and On-
Order Inventory (as determined by the reference to the 852 Report for the business day
immediately preceding the price increase) by the difference between the post-price increasl
WAC and the pre-price increase WAC (the "Inventory Appreciation Value") which is creditable
against the Service Fee due as set forth in Section a3@).

rd.

        286.    Thus, as detailed below, Berlex either improperly treated the service fees paid to

wholesalers as discounts and/or hid its off-invoice prices increases in the bona fide service fees.

However, regardless of which scheme(s) were executed, the result is the same-a fraudulent

understatement of AMP.


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                              z.       Berlex's Discount Scheme

         287   -    When Berlex treats service fees as discounts, it fraudulently understates AMP by

 mischaracterizing bonafide service fees as a "credit."

        288.       Specifically, the Berlex Agreement states:

                              Any credit issued to wholesaler pursuant to paragraph (a) shall be
                              nontransferable and shall be used by wholesaler solely for future
                              Purchases ofProducts.

 Id. at $ 4.3(c)(emphasis added).

        289.       Thus, by requiring that the wholesaler use the "credit" as payment for "future

 Purchases of Products," Berlex acknowledges that          it provides a discount on product purchases in

 an amount equal to the Service Fee.

        290. In addition           to the wholesaler recognizing that the Service Fee is a bona fide fee

for service, the agreement itself recites the elements necessary to define the Service Fee as a

bonafide service fee. Specifically, the parties acknowledge that the service fees are for itemized

services that are actually performed and that the fees for services constitute fair market value,

which are not passed on. Id. at Exhibit A; Id. at g 4.1 ; Id. at g 7.3(a).

        291.       Furthermore, the services provided by the wholesaler         to Berlex are virtually
identical to the services at issue in the Streck Opinion. Specifically, the Court in the Streck

Opinion held that, in the face of "the change in the statutory and regulatory landscap e in 2007
                                                                                                 ,,,

the required knowledge of falsity could be inferred by failing to classify these servi ces as bona

fide. Streck Opinion     at   p. 29.

       292.        When employing the Discount Scheme, Berlex failed to classify these services as

bonafide, despite the fact that it explicitly recognized each element necessary to define payment

for these services as a bonafide fee for service.



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          293.        Despite the clear regulatory and statutory guidance directing Berlex to classifr

payment for these services as bona                fide   sewice fees, Berlex fraudulently elected to classify

payment for these services as "credits" and used these oocredits" to reduce its AMP calculations.

Berlex Agreement at p. 3.

          294.        As discussed in detail above, bona fide service fees are excluded from AMP by

statute, regulation, the Medicaid Rebate Agreement,                   ffid the Medicaid Rebate   Operational

Training Guide. In blatant defiance of the law, Berlex improperly classifies bona fide service

fees as oocredits," which causes         it to understate its AMP, and, as a result,     underpay Medicaid

rebates   it owes to the Government Plaintiffs.

                              b.      Berlex's Service Fee Scheme

          295.       Alternatively, or in conjunction with, the Discount Scheme, Berlex retains the

option to utilize the Service Fee scheme to deflate its Medicaid rebate obligations.

          296.       The Berlex Agreement allows the company             to   reduce its AMP calculations by

concealing off-invoice price increases in its service fee payments.

          297.       Specifically, in accord with the Berlex Agreement, the Service Fee can be paid in

'othe   form   of'   a price increase (i.e., an   off-invoice price increase). Id. at $ a.2@). This payment

is calculated as follows:

                     (D      the Service Fee earned for such calendar quarter (subject to Section
                             3.2(a)); less
                     (iD the aggregate       Inventory Appreciation earned by Wholesaler in the
                             applicable calendar quarter, if any; less
                     (iii)   except to the extent Berlex elects to have any Carryover Service Fee paid
                             pursuant to clause (b) below, arry Carryover Service Fee, if any (as
                             hereinafter defined; less
                     (iv)      any credit or amount due to Berlex pursuant to Section 3.2(b).

Id. at $ 4.3(a).




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        298. Thus, Berlex reduces the Service Fee by the                  amount    of the Inventory
 Appreciation (i.e., off-invoice price increases). By retroactively increasing the price of its drugs,

 Berlex realizes the financial benefit of this increased sales price, while, at the same time, failing

to report this price increase in its AMP calculations. This failure      causes Berlex    to materially

underpay its Medicaid rebates.

        299.    The "Carryover Service Fee" further clarifies that off-invoice price increases are

used as a means   to satisff Services Fees and, thereby, avoid increases in AMP. Specifically,       if
the sum of items (ii) through (iv) in Section 4.3(a) of the Berlex Agreement o'exceed the Service

Fee earned   for such calendar quarter, the difference ("Carryover Service Fee") shall be credited

against the Service Fee payable by Berlex in the subsequent calendar quarter." Id. at 4.3(b).
                                                                                     $

Essentially, Berlex acknowledges that its off-invoice price increases are so large that they not

only have the potential to satisfi, the entire Service Fee, but require an additional mechanism-

the Carryover Service Fee-to allow Berlex to capture the full value of its off-invoice price

increases.

        300.   These services, according to CMS, are bona       fide   services because they provide

"value to the manufacturer that [is] associated with the efficient distribution of drugs" and

represent fair market value.   7l   Fed. Reg. at 69667-9.

       301.    As discussed in detail above, bonafide service fees are excluded from AMp by

statute, regulation, the Medicaid Rebate Agreement,         ffid the Medicaid Rebate      Operational

Training Guide. By virtue of the bona fide nature of the services the wholesaler provides to

Berlex and the express terms of the Berlex Agreement,          it is apparent   that Berlex treats the

Service Fees   it pays as bona fide, thus 'oallowing"       Berlex to exclude those fees from its

calculations of AMP. Therefore, by netting off-invoice price increases against the Service Fees,



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 Berlex improperly excludes price increases from its AMP calculations, in turn understates its

AMP, and consequently underpays the rebates it owes to the Government Plaintiffs.

         302.   During the Relevant Time Period, Defendant Berlex participated in the Medicaid

Program and Berlex's Relevant Drugs were paid for by all of the Government Plaintiffs.

         303.   By understating its AMP calculations, Berlex: (1) caused CMS to underreport the

unit rebate amounts to the states, (2) underpaid its Basic and Additional Medicaid rebates, (3)

caused the states to receive less       in rebates than they were entitled to, and   ( ) caused the federal
government to pay more than        it   should have in FMAP funds to the states. As a result of this

fraudulent conduct, Berlex violated Section 3729(a)(l)(A), (B) and (G) of the Federal False

claims Act and comparable sections of the State False claims Acts.

                3.      Organon

         304-   organon is a Hybrid Defendant. See attached Exhibits M and N.

         305.   Organon and a national wholesaler executed two separate agreements:                 (l) the
"Wholesaler Services and Inventory Management Agreement" ("Organon IMA"), effective July

l,   2005 for a term   of five   years and (2) the "Distribution Services Agreement" ("Organon

DSA"), effective July   l,   2005 for a term of five   years.   organon IMA $ IV (A); Organon DSA

$ 3.1.

         306.   The Organon IMA utilizes the Discount Scheme whereas the Organon DSA

utilizes the Service Fee Scheme.

                 a.     Orqanonts Discount Scheme

         307.   The purpose of the Organon IMA is to detail the distribution services provided by

the national wholesaler and to establish payment for providing such services.         Id. atp. l.
         308.   Section 2 details the services provided by the national wholesaler to Organon:



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                 .   Pick, pack, and ship Organon's product to Wholesaler's customers upon their
                     order for same;
                 o   Sophisticated ordering technology;
                 .   Daily consolidated deliveries to providers;
                 o   Emergency shipments to providers 24171365;
                 o   Consolidated accounts receivable management;
                 o   Contract and Chargeback administration;
                 o   Returns and Recall processing;
                 o   Customer Service support;
                 o   Adequate working inventories to meet customer needs; and
                 o   Licensed, environmentally controlled, PDMA compliant, secure facilities.
Id. at $ I(A).

        309. As consideration for          these services, Organon agreed           to pay the national
wholesaler a Service Fee "equal to 150 basis points on its Purchases." Id. at $ III(A).

        310.     Specifically, Organon states that      it "is willing to meet competitive   practices by

paying Wholesaler Basis Points on Wholesaler's Purchases of Organon's Products, according to

the terms of [the Organon    IMA]."      Organon   IMA at p. 1. Essentially, Organon multiplies the

wholesaler's purchases by 1.5o/o and then deducts this figure from the wholesaler's purchases.

This process allows Organon to provide an effective discount of l.5Yo on all purchases by the

national wholesaler and, more importantly for Organon, to reduce its AMp by 1.5%.

       3l   l.   The services provided by the wholesaler to Organon are virtually identical to the

services at issue in the Streck   Opinion. Specifically, the Court in the Streck Opinion held that, in

the face of "the change in the statutory and regulatory landscape              in   2007," the required

knowledge of falsity could be inferred by failing to classift these services as bona fide. Streck

Opinion atp.29.

       312.      Under the Organon IMA, the wholesaler agrees to provide inventory management

services, administrative services, distribution services, and data services. These services,

according to CMS, are bona fide services because they provide "value to the manufacturer that




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 [is] associated with the efficient distribution of drugs" and represent fair market value.       7l Fed.
 Reg. at 69667-9.

          313.   Despite the regulatory and statutory guidance directing Organon            to    classify

payment for these services as bona fide service fees, Organon elects to classifr payment for these

 services as discounts to reduce its AMP calculations.

          314.   As discussed in detail above, bona fide service fees are excluded from AMP by

statute, regulation, the Medicaid Rebate Agreement, and the Medicaid Rebate Operational

Training Guide. In blatant defiance of the law, Organon improperly classifi es bona
                                                                                    fide service
fees as discounts, which causes        it to understate its AMP, and, as a result, underpay Medicaid
rebates   it owes to the Govemment Plaintiffs.

                 b.       Organon,s Service Fee Scheme

          315.   The purpose of the Organon DSA is to detail the services Organon oowishes to

purchase" from the national wholesaler, which include, but are not limited to "logistics and

inventory management services, administrative services, and financial services." Id. at p.       l.
          316.   Section 2 details the services the national wholesaler provides to Organon:

                 o    Maintain Aggregate Inventory Levels of no less than   2l   days;
                 o    Provide detailed forecasts, which include: product sales by location of
                      Distribution center, NDC number of product, quantity of sales forecast by
                      units and dollars; and
                 o    Provide guaranteed support for new product launches, which include:
                          o Stocking distribution centers with quantities determined by organon;
                             and
                         o   Providing daily sales out reports for the first 60 days of product
                             launch.

1d at $$ 2.22.6.

       317. In exchange for providing these services, Organon "agree[d]            to compensate [the

national wholesaler] for each of the services" with a Service Fee up         to    1.05%o. Id.;   Id.   at



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 Schedule   A. This Service Fee "will     be calculated and paid quarterly based on the total volume     of
all Products purchased by the [national wholesaler)." Id.at Schedule A. Specifically, for years

 1-3 the Service Fee will be l.lYo and for years 4-5 the Service Fee will be 1.05%. Id.

         318.     However, Organon "will receive credit toward [the] Service Fee for the following

items:

            a.   Price Appreciation on Aggregate Inventory after a Customer pricing action.

            b. Margin earned on quarterly promotions, deals, off-invoice allowances, or any other
               method, excluding those that are intended for [the national wholesaler's]
                 Providers.

                 rd.

         319.    Thus, Organon reduces the Service Fee by the amount of the Price Appreciation

(i.e., off-invoice price increases). By retroactively increasing the price of its drugs, Organon

realizes the benefit of this increased sales price, while, at the same time, failing to report this

price increase in its AMP calculations. This failure causes Organon to materially underpay its

Medicaid rebates.

         320.    Consistent with the above, Section 4.1          of the Organon DSA describes          the

relationship between Organon and the national wholesaler as that of a "service buyer-seller."

Thus, the agreement was negotiated at arm's length and for fair market value.

         321.    As discussed in detail above, bonafide service fees are excluded from AMP by

statute, regulation, the Medicaid Rebate Agreement,            ffid the Medicaid Rebate    Operational

Training Guide. Given the Streck Opinion and the bona fide nature of the services the

wholesaler provides to Organon, the express terms of the Organon DSA indicate that Organon

treats the Service Fees   it pays   as bona   fide, thus "allowing" Organon to exclude those fees from
its calculations of AMP. Therefore, by netting off-invoice price increases against the Service

Fees, Organon improperly excludes price increases from                its AMP    calculations,   in   turn

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understates   its AMP, and consequently underpays the rebates          it   owes   to the   Govemment

Plaintiffs.

         322.   During the Relevant Time Period, Defendant Organon participated                 in   the

Medicaid Program and Organon's Relevant Drugs were paid for by all of the Government

Plaintiffs. Further, the prices on Organon's drugs increased during the Relevant Time Period,

often at a greater percentage than the CPI-U.

         323. During the Relevant Time           Period, Defendant Organon participated         in   the

Medicaid Program and Organon's Relevant Drugs were paid for by all of the Government

Plaintiffs.

        324.    By understating its AMP calculations, Organon: (1) caused CMS to underreport

the unit rebate amounts to the states, (2) underpaid its Basic and Additional Medicaid rebates, (3)

caused the states to receive less   in rebates than they were entitled to, and (a) caused the federal

government to pay more than    it should have in FMAP funds to the states. As a result of this
fraudulent conduct, Organon violated Section 3729(a)(l)(A), (B) and (G) of the Federal False

Claims Act and comparable sections of the State False Claims Acts.

IX.     CONCLUSION

        325. As fully detailed above, Defendants        knowingly reported falsely deflated AMPs

for their Relevant Drugs. This caused CMS to inaccurately calculate URAs. The States then

used inaccurate URAs to invoice Defendants for the rebates Defendants        owed. Defendants thus

unlawfully underpaid their rebates as a consequence of their own false reporting, the           States

expended more of their own funds, and the States sought more in federal matching funds through

their quarterly requests for Medicaid payments on CMS Form-64. Consequently, the Defendants

defrauded the Government Plaintiffs.




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                                               COUNT     I
                                           False
                                                             and (a)(l
                                                               nts)
         326. Plaintiff   repeats and realleges each                     allegation contained   in   the

paragraphs above as though   fully   set forth herein.

         327.   This is a claim for treble damages and penalties under the False Claims Act,         31

U.S.C. 53729, et seq., as amended.

         328.   By virtue of the acts described above, Defendants knowingly presented or caused

to be presented, false or fraudulent claims to officers, employees or agents of the United States

Government for payment or approval, within the meaning of 31 U.S.C. $3729(a)(1XA).

         329. By virtue of the acts described above,          Defendants knowingly made, used, or

caused   to be made or used a false record or statement material to a false or fraudulent claim,

within the meaning of 31 U.S.C. 93729(a)(l)(B).

         330.   The United States, unaware of the falsity of the records, statements and claims

made or caused to be made by the Defendants, paid and continues to pay the claims that would

not be paid but for Defendants' unlawful conduct.

         331. By reason of the Defendants' acts, the United States has been damaged,             and

continues to be damaged, in substantial amount to be determined at trial.

         332.   Additionally, the United States is entitled to the maximum penalty of $11,000 for

each and every false and fraudulent claim made and caused to be made by Defendants arising

from their unlawful conduct as described herein.




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                                                   COUNT     II
                                              False Claims Act
                                          31 U.S.C. Q3729(aX1XG)
                                          (Against All Defendants)

         333. Plaintiff      repeats and realleges each and every allegation contained          in   the

paragraphs above as though       fully   set forth herein.

         334.     This is a claim for penalties and treble damages under the Federal False Claims

Act.

         335. By virtue of the acts described above,              Defendants knowingly made, used, or

caused to be made or used, a false record or statement material to an obligation to pay or transmit

money or property to the Government, or knowingly concealed or knowingly and improperly

avoided or decreased an obligation to pay or transmit money to the Government, within the

meaning of   31   U.S.C   . 93729(a)(1)(c).

         336. As a result, monies were lost to the United            States through the non-payment or

non-transmittal of money or property owed to the United States by the Defendants, and other

costs were sustained by the United States.

         337. By reason of the Defendants'             acts, the United States has been damaged, and

continues to be damaged, in substantial amount to be determined at trial.

         338.     Additionally, the United States is entitled to the maximum penalty of up to

$11,000 for each and every false record or statement knowingly made, used, or caused to be

made or used to conceal, avoid, or decrease an obligation to pay or transmit money or property to

the United States.




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                                               COUNT         III
                                      California False Claims Act
                               Cat                                         . (Z)
                                        (Against All Defendants)

          339. Plaintiff   repeats and realleges each and every allegation contained                   in   the

paragraphs above as though    fully   set forth herein.

         340.   This is a claim for treble damages and penalties under the California False Claims

Act.

         341.   By virtue of the acts described above, Defendants knowingly presented or caused

to be presented, false or fraudulent claims to the California State Government for payment or

approval.

         342. By virtue of the acts described above, Defendants knowingly made, used, or
caused to be made or used false records and statements, to get the California State Government

to approve and pay such false and fraudulent claims.

         343. By virtue of the acts described above, Defendants knowingly                    made, used, or

caused   to be made or     used, false records     or    statements   to   conceal, avoid,   or   decrease an

obligation to pay or transmit money or property to the California State Government.

         344. The California      State Government, unaware                of the falsity of the records,
statements and claims made, used, presented             or   caused   to be made, used or presented by
Defendants, paid and continues to pay the claims that would not be paid but for Defendants'

unlawful conduct.

         345.   By reason of the Defendants' acts, the State of California has been damaged, and

continues to be damaged, in substantial amount to be determined at trial.

         346.   Additionally, the California State Government is entitled to the maximum penalty

of $10,000 for each and every violation alleged herein.


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                                              COUNT      IV
                              Colorado Medicaid False Claims Act
                                  C.R.S. $25.5-4-303.5 et seq.

         347. Plaintiff repeats and realleges each and every allegation contained in                 the

paragraphs above as though   fully   set forth herein.

         348.   This is a claim for treble damages and penalties under the Colorado Medicaid

False Claims Act.

         349.   By virtue of the acts described above, Defendants knowingly presented or caused

to be presented, false or fraudulent claims to the Colorado State Government for payment or

approval.

         350. By virtue of the acts described above,          Defendants knowingly made, used, or

caused to be made or used false records and statements, to get the Colorado State Government to

approve and pay such false and fraudulent claims.

         351. By virtue of the acts described above,          Defendants knowingly made, used, or

caused   to be made or   used, false records      or   statements   to conceal, avoid, or decrease   an

obligation to pay or transmit money or property to the Colorado State Government.

         352.   The Colorado State Government, unaware of the falsity of the records, statements

and claims made, used, presented or caused to be made, used or presented by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants' unlawful conduct.

         353.   By reason of the Defendants' acts, the State of Colorado has been damaged, and

continues to be damaged, in substantial amount to be determined at trial.

         354.   Additionally, the Colorado State Government is entitled to the maximum penalty

of $11,000 for each and every violation alleged herein.




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                                               COUNT V

                                     Connecticut False Claims Act
                                     Conn. Gen. Stat. S 17b-301b
                                       (Against All Defendants)

        355. Plaintiff   repeats and realleges each and every allegation contained            in   the

paragraphs above as though   fully   set forth herein.

        356.   This is a claim for treble damages and penalties under the Connecticut False

Claims Act.

        357.   By virtue of the acts described above, Defendants knowingly presented or caused

to be presented, false or fraudulent claims to the Connecticut State Government for payment or

approval.

        358. By virtue of the acts described above,       Defendants knowingly made, used, or

caused to be made or used false records and statements, to get the Connecticut State Government

to approve and pay such false and fraudulent claims.

        359.   The Connecticut State Government, unaware of the falsity of the records,

statements and claims made, used, presented or caused to be made, used or presented by

Defendants, paid and continues to pay the claims that would not be paid but for Defendants'

unlawful conduct.

       360.    By reason of the Defendants' acts, the State of Connecticut has been damaged,

and continues to be damaged, in substantial amount to be determined at trial.

       361.    Additionally, the Connecticut State Government is entitled to the maximum

penalty of $10,000 for each and every violation alleged herein.




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                                              COUNT VI




         362. Plaintiff   repeats and realleges each and every allegation contained              in   the

paragraphs above as though   fully   set forth herein.

         363.   This is a claim for treble damages and penalties under the Delaware False Claims

And Reporting Act.

         364.   By virtue of the acts described above, Defendants knowingly presented or caused

to be presented, false or fraudulent claims to the Delaware State Government for payment or

approval.

         365. By virtue of the acts described above, Defendants knowingly made, used, or
caused to be made or used false records and statements, to get the Delaware State Government to

approve and pay such false and fraudulent claims.

         366. By virtue of the acts described above, Defendant             knowingly made, used, or

caused   to be made or    used, false records     or   statements   to conceal, avoid, or   decrease an

obligation to pay or transmit money or property to the Delaware State Government.

         367.   The Delaware State Government, unaware of the falsity of the records, statements

and claims made, used, presented or caused to be made, used or presented by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants' unlawful conduct.

         368.   By reason of the Defendants' acts, the State of Delaware has been damaged, and

continues to be damaged, in substantial amount to be determined at trial.

         369.   Additionally, the Delaware State Government is entitled to the maximum penalty

of $11,000 for each and every violation alleged herein.




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                                                                      o
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                                              COUNT VII
                                     Florida False Claims Act
                               FIa. Stat. Ann. S68.082(2Xa)-(b). (e)
                                     (Against All Defendants)


         370. Plaintiff   repeats and realleges each and every allegation contained              in    the

paragraphs above as though   fully   set forth herein.

         37I.   This is a claim for treble damages and penalties under the Florida False Claims

Act.

         372.   By virtue of the acts described above, Defendants knowingly presented or caused

to be presented, false or fraudulent claims to the Florida State Government for payment or

approval.

         373. By virtue of the acts described above,            Defendants knowingly made, used, or

caused to be made or used false records and statements, to induce the Florida State Government

to approve and pay such false and fraudulent claims.

         374. By virtue of the acts described above, Defendants knowingly made, used, or
caused   to be made or    used, false records     or     statements   to conceal, avoid, or decrease   an

obligation to pay or transmit money or property to the Florida State Government.

         375.   The Florida State Government, unaware of the falsity of the records, statements

and claims made, used, presented or caused to be made, used or presented by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants' unla',vful conduct.

         376.   By reason of the Defendants' acts, the State of Florida has been damaged,          and

continues to be damaged, in substantial amount to be determined at trial.

         377.   Additionally, the Florida State Government is entitled to the maximum penalty of

$11,000 for each and every violation alleged herein.



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                                             COTINT      VIII
                              Georeia False Medicaid Claims Act
                              Ga. Code Ann. Q49-4-168.1(1)-(2)" (7)
                                   (Against All Defendants)

         378. Plaintiff   repeats and realleges each and every allegation contained                  in   the

paragraphs above as though   fully   set forth herein.

         379.   This is a claim for treble damages and penalties under the Georgia False Medicaid

Claims Act.

         380.   By virtue of the acts described above, Defendants knowingly presented or caused

to be presented, false or fraudulent claims to the Georgia State Government for payment or

approval.

         381. By virtue of the acts described above, Defendants knowingly made, used, or
caused   to be made or used false records and statements, and omitted material facts, to get the

Georgia State Government to approve and pay such false and fraudulent claims.

         382. By virtue of the acts described above, Defendants knowingly made, used, or
caused   to be made or    used, false records     or   statements   to   conceal, avoid,   or   decrease an

obligation to pay or transmit money or property to the Georgia State Government.

         383.   The Georgia State Government, unaware of the falsity of the records, statements

and claims made, used, presented or caused to be made, used or presented by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants' unlawful conduct.

         384.   By reason of the Defendants' acts, the State of Georgia has been damaged, and

continues to be damaged, in substantial amount to be determined at trial.

         385.   Additionally, the Georgia State Government is entitled to the maximum penalty of

$11,000 for each and every violation alleged herein.




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                                               COUNT        IX


                                        (Against   All

          386. Plaintiff   repeats and realleges each and every allegation contained                   in   the

paragraphs above as though    fully   set forth herein.

          387.   This is a claim for treble damages and penalties under the Hawaii False Claims

Act.

         388.    By virtue of the acts described above, Defendants knowingly presented or caused

to be presented, false or fraudulent claims to the Hawaii State Government for payment or

approval.

         389. By vinue of the acts described above, Defendants knowingly made, used, or
caused to be made or used false records and statements, to get the Hawaii State Government to

approve and pay such false and fraudulent claims.

         390. By virtue of the acts described above,             Defendant knowingly made, used, or

caused   to be made or     used, false records     or    statements   to   conceal, avoid,   or   decrease an

obligation to pay or transmit money or property to the Hawaii State Government.

         391.    The Hawaii State Government, unaware of the falsity of the records, statements

and claims made, used, presented or caused to be made, used or presented by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants' unlardul conduct.

         392- By reason of the Defendants'         acts, the State of Hawaii has been damaged, and

continues to be damaged, in substantial amount to be determined at trial.

         393.    Additionally, the Hawaii State Government is entitled to the maximum penalty of

$10,000 for each and every violation alleged herein.



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                                                COUNT X
                       Illinois Wh

                                                  All Defendants)

         394. Plaintiff   repeats and realleges each and every allegation contained              in   the

paragraphs above as though    fully   set forth herein.

         395.   This is a claim for treble damages and penalties under the Illinois Whistleblower

Reward And Protection Act.

         396.   By virtue of the acts described above, Defendants knowingly presented or caused

to be presented, false or fraudulent claims to the Illinois State Government for payment or

approval.

         397. By virtue of the acts described above,           Defendants knowingly made, used, or

caused to be made or used false records and statements, to induce the         Illinois State Government

to approve and pay such false and fraudulent claims.

         398. By virtue of the acts described above,           Defendant knowingly made, used, or

caused   to be made or used, false records or           statements   to conceal, avoid, or decrease   an

obligation to pay or transmit money or property to the Illinois State Government.

         399.   The Illinois State Government, unaware of the falsity of the records, statements

and claims made, used, presented or caused to be made, used or presented by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants' unlawful conduct.

         400.   By reason of the Defendants' acts, the State of Illinois has been damaged,         and

continues to be damaged, in substantial amount to be determined at trial.

         401. Additionally,   the Illinois State Govemment is entitled to the maximum penalty         of
$11,000 for each and every violation alleged herein.



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                                               COUNT XI
                                      Claims and Wh

                                                          dants)


        402. Plaintiff   repeats and realleges each and every allegation contained        in    the

paragraphs above as though    fully   set forth herein.

        403.   This is a claim for treble damages and penalties under the Indiana False Claims

and Whistleblower Protection Act.

        404.   By virtue of the acts described above, Defendants knowingly made or used false

records and statements to obtain payment or approval of a false claim from the Indiana State

Government.

        405.   By virtue of the acts described above, Defendants knowingly made or used false

records or statements to avoid an obligation to pay or transmit property to the Indiana State

Govemment.

        406.   The Indiana State Government, unaware of the falsity of the records, statements

and claims made, used, presented or caused to be made, used or presented by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants' unlawful conduct.

       407.    By reason of the Defendants' acts, the State of Indiana has been damaged, and

continues to be damaged, in substantial amount to be determined at trial.

       408.    Additionally, the Indiana State Government is entitled to a penalty of at least

$5,000 for each and every violation alleged herein.

                                         Count XII
                                    Iowa False Claims Act
                             Iowa Code Ann. Q 685.2(lXA). (B). (G)

       409. Plaintiff   repeats and realleges each and every allegation contained        in    the

paragraphs above as though   fully   set forth herein.

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         410.   This is a claim for treble damages and penalties under the Iowa False Claims Act.

         4ll.   By virtue of the acts described above, Defendants knowingly presented or caused

to be presented, false or fraudulent claims to the Iowa State Government for payment or

approval.

         412. By virtue of the acts described above, Defendants knowingly                made, used, or

caused to be made or used false records and statements, to induce the Iowa State Government to

approve and pay such false and fraudulent claims.

         413. By virtue of the acts described above,             Defendant knowingly made, used, or

caused   to be made or   used, false records        or    statements   to conceal, avoid, or decrease   an

obligation to pay or transmit money or property to the Iowa State Government.

         414.   The Iowa State Government, unaware of the falsity of the records, statements and

claims made, used, presented or caused to be made, used or presented by Defendants, paid and

continues to pay the claims that would not be paid but for Defendants' unla\drl conduct.

         415. By reason of the Defendants'           acts, the State    of Iowa has been damaged,   and

continues to be damaged, in substantial amount to be determined at trial.

         416. Additionally,    the Iowa State Government is entitled to the maximum penalty             of
$10,000 for each and every violation alleged herein.


                                              COUNT       XIII


                                                  AII Defendants)


       417. Plaintiff repeats and realleges each and every allegation contained in                  the

paragraphs above as though    fully   set forth herein.




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         418.   This is a claim for treble damages and penalties under the Louisiana Medical

Assistance Programs Integrity Law.

         419.   By virtue of the acts described above, Defendants knowingly presented or caused

to be presented, false or fraudulent claims to the Louisiana State Govemment.

         420. By virtue of the acts described above,                  Defendants knowingly engaged in

misrepresentation or made, used, or caused to be made or used false records and statements, to

obtain payment for false and fraudulent claims from the Louisiana State Government.

         421. By virtue of the acts described above, Defendants knowingly made, used, or
caused   to be made or    used, false records      or    statements   to   conceal, avoid,   or   decrease an

obligation to pay or transmit money or property to the Louisiana State Govemment.

         422.   The Louisiana State Government, unaware of the falsity of the records, statements

and claims made, used, presented or caused to be made, used or presented by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants' unlawful conduct.

         423.   By reason of the Defendants' acts, the State of Louisiana has been damaged, and

continues to be damaged, in substantial amount to be determined at trial.

         424.   Additionally, the Louisiana State Government is entitled to the maximum penalty

of $10,000 for each and every violation alleged herein.

                                        Count XIV
                           The Maryland False Health Claims Act
                        Md. Code Ann.. Health-Gen. 8S 2-602(AXl). (2)

       425. Plaintiff repeats and realleges each and every allegation contained in                       the

paragraphs above as though   fully   set forth herein.

       426.     This is a claim for treble damages and penalties under the Maryland False Health

Claims Act.



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         427.   By virtue of the acts described above, Defendants knowingly presented or caused

to be presented, false or fraudulent claims to the Maryland State Government for payment or

approval.

         428. By virtue of the acts described above,             Defendants knowingly made, used, or

caused    to be made or    used false records and statements,                to   induce the Maryland State

Government to approve and pay such false and fraudulent claims.

         429. By virtue of the acts described above, Defendant                    knowingly made, used, or

caused   to be made or    used, false records       or    statements    to   conceal, avoid,   or   decrease an

obligation to pay or transmit money or property to the Maryland State Government.

         430.   The Maryland State Government, unaware of the falsity of the records, statements

and claims made, used, presented or caused to be made, used or presented by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants' unlawful conduct.

         431.   By reason of the Defendants' acts, the State of Maryland has been damaged, and

continues to be damaged, in substantial amount to be determined at trial.

         432. Additionally,   the Maryland State Government is entitled to the maximum penalty

of $10,000 for each and every violation alleged herein.


                                               COUNT XV
                                          chusetts F

                                        (Against                 nts)


         433. Plaintiff   repeats and realleges each and every allegation contained                     in   the

paragraphs above as though    fully   set forth herein.

       434.     This is a claim for treble damages and penalties under the Massachusetts False

Claims Law.


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         435.   By virtue of the acts described above, Defendants knowingly presented or caused

to be presented, false or fraudulent claims to the Massachusetts State Government for payment or

approval.

         436. By virtue of the acts described above, Defendants knowingly made, used, or
caused   to be made or used false records and            statements,    to induce the Massachusetts     State

Government to approve and pay such false and fraudulent claims.

         437. By virtue of the acts described above, Defendants knowingly made, used, or
caused   to be made or   used, false records       or    statements    to conceal, avoid, or   decrease an

obligation to pay or transmit money or property to the Massachusetts State Govemment.

         438.   The Massachusetts State Government, unawa.re of the falsity of the records,

statements and claims made, used, presented              or   caused   to be made, used or   presented by

Defendants, paid and continues to pay the claims that would not be paid but for Defendants'

unlawful conduct.

         439. By reason of the Defendants' acts, the State of Massachusetts           has been damaged,

and continues to be damaged, in substantial amount to be determined at trial.

         440. Additionally, the Massachusetts            State Govemment is entitled to the maximum

penalty of $10,000 for each and every violation alleged herein.


                                             COUNT XVI




       441. Plaintiff   repeats and realleges each and every allegation contained                  in   the

paragraphs above as though   fully   set forth herein.




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          442.    This is a claim for treble damages and penalties under the Michigan Medicaid

 False Claims Act.

          443. By virtue of the acts described above, Defendants     knowingly made or caused to

 be made a false statement or false representation of material fact in an application for Medicaid

 benefits to the Michigan State Government.

          444.   By virtue of the acts described above, Defendants knowingly made or caused to

 be made a false statement or false representation of material fact for use in determining rights to

a   Medicaid benefit.

         445.    The Michigan State Government, unaware of the falsity of the records, statements

and claims made, used, presented or caused to be made, used or presented by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants' unlawful conduct.

         446.    By reason of the Defendants' acts, the State of Michigan has been damaged, and

continues to be damaged, in substantial amount to be determined at trial.

         447.    Additionally, the Michigan State Govemment is entitled to the maximum penalty

of $10,000 for each and every violation alleged herein.

                                               Count      XVII
                                      Minnesota False Claims Act
                                      Minn. Stat. Sl5c.02 et seq.

         448. Plaintiff   repeats and realleges each and every allegation contained         in   the

paragraphs above as though    fully   set forth herein.

         449.    This is a claim for treble damages and penalties under the Minnesota False Claims

Act.




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         450. By virtue of the acts described above, Defendants knowingly presented or caused
to be presented, false or fraudulent claims to the Minnesota State Government for payment or

approval.

         451. By virtue of the acts described above, Defendants knowingly made, used, or
caused to be made   or   used false records and statements, to get the Minnesota State Government

to approve and pay such false and fraudulent claims.

         452. By virtue of the acts described               above, Defendant knowingly made, used, or

caused   to be made or     used, false records         or   statements    to   conceal, avoid,   or   decrease an

obligation to pay or transmit money or property to the Minnesota State Government.

         453. The Minnesota State Govemment,                      unaware      of the falsity of the records,
statements and claims made, used, presented                 or   caused   to be made,   used or presented by

Defendants, paid and continues to pay the claims that would not be paid but for Defendants'

unlawful conduct.

         454.   By reason of the Defendants' acts, the State of Minnesota has been damaged, and

continues to be damaged, in substantial amount to be determined at trial.

         455. Additionally,   the Minnesota State Government is entitled to the maximum penalty

of $l1,000 for each and every violation alleged herein.


                                             COUNT XVIII
                                            tana f,'
                                                       7




         456. Plaintiff repeats and realleges each and every allegation contained in                         the

paragraphs above as though    fully   set forth herein.




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         457.   This is a claim for treble damages and penalties under the Montana False Claims

Act.

         458.   By virtue of the acts described above, Defendants knowingly presented or caused

to be presented, false or fraudulent claims to the Montana State Government for payment or

approval.

         459. By virtue of the acts described above, Defendants knowingly                     made, used, or

caused to be made   or   used false records and statements, to get the Montana State Govemment to

approve and pay such false and fraudulent claims.

         460. By virtue of the acts described above,             Defendant knowingly made, used, or

caused   to be made or used, false records or             statements   to   conceal, avoid,   or   decrease an

obligation to pay or transmit money or property to the Montana State Government.

         461.   The Montana State Government, unaware of the falsity of the records, statements

and claims made, used, presented or caused to be made, used or presented by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants' unlawfirl conduct.

         462.   By reason of the Defendants' acts, the State of Montana has been damaged, and

continues to be damaged, in substantial amount to be determined at trial.

         463. Additionally,   the Montana State Government is entitled to the maximum penalty

of $10,000 for each and every violation alleged herein.

                                              COUNT XIX

                              Nevada Submission of False Claims
                               to State or Local Government Act
                           Nev. Rev. Stat. Ann. 8357.040(1Xa)-(b). (e)
                                    (Against All Defendants)

         464. Plaintiff repeats and realleges each and every allegation contained in                      the

paragraphs above as though    fully   set forth herein.


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         465.   This is a claim for treble damages and penalties under the Nevada Submission                of
 False Claims to State or Local Govemment Act.

         466.   By virtue of the acts described above, Defendants knowingly presented or caused

to be presented, false or fraudulent claims to the Nevada State Government for payment or

approval.

         467. By virtue of the acts described above, Defendants knowingly made, used, or
caused to be made or used false records and statements, and omitted material facts, to induce the

Nevada State Government to approve and pay such false and fraudulent claims.

         468. By virtue of the acts described above,             Defendant knowingly made, used, or

caused   to be made or   used, false records        or    statements   to   conceal, avoid,   or   decrease an

obligation to pay or transmit money or property to the Nevada State Government.

         469.   The Nevada State Government, unaware of the falsity of the records, statements

and claims made, used, presented or caused to be made, used or presented by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants' unlawful conduct.

         470. By reason of the Defendants'          acts, the State of Nevada has been damaged, and

continues to be damaged, in substantial amount to be determined at trial.

         471. Additionally,   the Nevada State Govemment is entitled to the maximum penalty                of
$10,000 for each and every violation alleged herein.


                                               COUNT XX




       472. Plaintiff repeats and realleges each and every allegation contained in                        the

paragraphs above as though    fully   set forth herein.


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         473.   This is a claim for treble damages and penalties under the New Jersey False

 Claims Act.

         474.   By virtue of the acts described above, Defendants knowingly presented or caused

to be presented, false or fraudulent claims to the New Jersey State Government for payment or

approval.

         475. By virtue of the acts described above, Defendants knowingly made, used, or
caused to be made or used false records and statements, to get the New Jersey State Government

to approve and pay such false and fraudulent claims.

         476. By virtue of the acts described above, Defendants knowingly made, used, or
caused   to be made or   used, false records   or   statements    to   conceal, avoid,   or   decrease an

obligation to pay or transmit money or property to the New Jersey State Government.

         477.   The New Jersey State Government, unaware               of the falsity of the records,
statements and claims made, used, presented         or   caused   to be made,   used or presented by

Defendants, paid and continues to pay the claims that would not be paid but for Defendants,

unlawful conduct.

         478. By reason of the Defendants' acts, the New Jersey has been damaged, and
continues to be damaged, in substantial amount to be determined at trial.

         479. Additionally, the New Jersey      State Government         is entitled to the maximum
penalty of $11,000 for each and every violation alleged herein.




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                                             COUNT XXI




         480. Plaintiff repeats and realleges each and every allegation contained in                        the

paragraphs above as though   fully   set forth herein.

         481.   This is a claim for treble damages and penalties under the New Mexico Medicaid

False Claims Act.

         482. By virtue of the acts described above, Defendants knowingly presented or caused
to be presented, false or fraudulent claims to the New Mexico State Govemment for payment or

approval.

         483. By virtue of the acts described above, Defendants knowingly made, used, or
caused   to be made or used false records and            statements,   to induce the New Mexico          State

Government to approve and pay such false and fraudulent claims.

         484. By virtue of the acts described above, Defendants knowingly made, used, or
caused   to be made or   used, false records      or   statements      to   conceal, avoid,   or   decrease an

obligation to pay or transmit money or property to the New Mexico State Government.

         485.   The New Mexico State Government, unaware of the falsity of the records,

statements and claims made, used, presented            or   caused   to be made, used or presented by
Defendants, paid and continues to pay the claims that would not be paid but for Defendants,

unlawful conduct.

         486. By reason of the Defendants' acts, the State of New Mexico has been damaged,
and continues to be damaged, in substantial amount to be determined at trial.




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          487. Additionally,   the New Mexico State Government is entitled to the maximum

 penalty of $10,000 for each and every violation alleged herein.


                                             COUNT       XXII




         488. Plaintiff repeats and realleges each and every allegation contained in                     the

paragraphs above as though   fully   set forth herein.

         489.   This is a claim for treble damages and penalties under the New York False Claims

Act.

         490. By virtue of the acts described above, Defendants            knowingly presented or caused

to be presented, false or fraudulent claims to the New York State Government for payment or

approval.

         491. By virtue of the acts described above,            Defendants knowingly made, used, or

caused to be made or used false records and statements, to get the New            York State Govemment

to approve and pay such false and fraudulent claims.

         492. By virtue of the acts described above, Defendants knowingly made, used, or
caused   to be made or   used, false records      or   statements    to   conceal, avoid,   or   decrease an

obligation to pay or transmit money or property to the New York State Government.

         493. The New York           State Govemment, unaware             of the falsity of the records,
statements and claims made, used, presented            or   caused   to be made, used or     presented by

Defendants, paid and continues to pay the claims that would not be paid but for Defendants,

unlawful conduct.




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         494. By reason of the Defendants' acts, the State of New York has been damaged, and
continues to be damaged, in substantial amount to be determined at trial.

         495.   Additionally, the New York State Government is entitled to the maximum penalty

of $12,000 for each and every violation alleged herein.

                                            COUNT        XXII
                                North Carolina False Claims Act
                          2009-554 N.C. Sess. Laws 8l-607(aXl)-(2). (7)
                                    (Against All Defendants)

         496. Plaintiff   repeats and realleges each and every allegation contained                   in   the

paragraphs above as though   fully   set forth herein.

         497.   This is a claim for treble damages and penalties under the North Carolina False

Claims Act.

         498. By virtue of the acts described above, Defendants knowingly presented or caused
to be presented, false or fraudulent claims to the North Carolina State Govemment for payment

or approval.

         499. By virtue of the acts described above,            Defendants knowingly made, used, or

caused   to be made or used false records and statements, to get the North Carolina                    State

Government to approve and pay such false and fraudulent claims.

         500. By virtue of the acts described above, Defendants knowingly made, used, or
caused   to be made or used, false records or           statements   to   conceal, avoid,   or   decrease an

obligation to pay or transmit money or property to the North Carolina State Government.

         501.   The North Carolina State Government, unaware of the falsity of the records,

statements and claims made, used, presented          or caused to be made, used or presented by




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Defendants, paid and continues to pay the claims that would not be paid but for Defendants'

unlawful conduct.

         502.   By reason of the Defendants' acts, the State of North Carolina has been damaged,

and continues to be damaged, in substantial amount to be determined at trial.

         503.   Additionally, the North Carolina State Government is entitled to the maximum

penalty of $11,000 for each and every violation alleged herein.


                                            COUNT XXIV




         504. Plaintiff   repeats and realleges each and every allegation contained             in    the

paragraphs above as though   fully   set forth herein.

         505.   This is a claim for treble damages and penalties under the Oklahoma Medicaid

False Claims Act.

         506.   By virtue of the acts described above, Defendants knowingly presented or caused

to be presented, false or fraudulent claims to the Oklahoma State Government for payment or

approval.

         507. By virtue of the acts described above,           Defendants knowingly made, used, or

caused to be made or used false records and statements, to get the Oklahoma State Govemment

to approve and pay such false and fraudulent claims.

         508. By virtue of the acts described above,           Defendant knowingly made, used, or

caused   to be made or used, false records or           statements   to conceal, avoid, or decrease   an

obligation to pay or transmit money or property to the Oklahoma State Government.




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         509. The    Oklahoma State Govemment, unaware                    of the falsity of the records,
statements and claims made, used, presented              or   caused   to be made, used or presented by
Defendants, paid and continues to pay the claims that would not be paid but for Defendants'

unlawful conduct.

         510.   By reason of the Defendants' acts, the State of Oklahoma has been damaged, and

continues to be damaged, in substantial amount to be determined at trial.

         511.   Additionally, the Oklahoma State Government is entitled to the maximum penalty

of $10,000 for each and every violation alleged herein.

                                             COUNT XXV

                              Rhode Island State False Claims Act
                               R.I. Gen. Laws 89-1.1-3(1)-(2). (7)
                                    (Against All Defendants)

         512. Plaintiff   repeats and realleges each and every allegation contained               in   the

paragraphs above as though   fully   set forth herein.

         513.   This is a claim for treble damages and penalties under the Rhode Island             State

False Claims Act.

         514.   By virtue of the acts described above, Defendants knowingly presented or caused

to be presented, false or fraudulent claims to the Rhode Island State Government for payment or

approval.

         515. By virtue of the acts described above, Defendants knowingly made, used, or
caused   to be made or used false records and             statements,    to get the   Rhode Island State

Government to approve and pay such false and fraudulent claims.




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          516. By virtue of the acts described above,              Defendants knowingly made, used, or

 caused     to be made or   used, false records     or    statements    to   conceal, avoid,   or   decrease an

 obligation to pay or transmit money or property to the Rhode Island State Govemment.

          517.   The Rhode Island State Government, unawa.re of the falsity of the records,

 statements and claims made, used, presented              or   caused   to be made, used or presented by
Defendants, paid and continues to pay the claims that would not be paid but for Defendants'

unlawful conduct.

          518.   By reason of the Defendants' acts, the State of Rhode Island has been damaged,

and continues to be damaged, in substantial amount to be determined at trial.

          519.   Additionally, the Rhode Island State Government is entitled to the maximum

penalty of $10,000 for each and every violation alleged herein.

                                             COUNT XXVI

                   Tennessee False Claims Act and Medicaid False Claims Act
                            Tenn. Code Ann. SS 4-18-103(aXl)-(2). (7)
                               and 71-5-181(aXlXA). (B) and (D)
                                    (Against All Defendants)

        520. Plaintiff    repeats and realleges each and every allegation contained                     in   the

paragraphs above as though    fully   set forth herein.

        521.     This is a claim for treble damages and penalties under the Tennessee Medicaid

False Claims Law.

       522.      By virtue of the acts described above, Defendants knowingly presented or caused

to be presented, false or fraudulent claims to the Tennessee State Government for payment or

approval.




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          523. By virtue of the acts described above,              Defendants knowingly made, used, or

 caused   to be made or      used false records and statements, to induce the Tennessee State

 Govemment to approve and pay such false and fraudulent claims.

          524. By virtue of the acts described above,              Defendants knowingly made, used, or

caused    to be made or     used, false records     or    statements    to conceal, avoid, or decrease   an

obligation to pay or transmit money or property to the Tennessee State Govemment.

          525. The Tennessee State Govemment,                   unaware    of the falsity of the records,
statements and claims made, used, presented               or   caused   to be made, used or   presented by

Defendants, paid and continues to pay the claims that would not be paid but for Defendants,

unlawful conduct.

         526.     By reason of the Defendants' acts, the State of Tennessee has been damaged, and

continues to be damaged, in substantial amount to be determined at trial.

         527.     Additionally, the Tennessee State Government is entitled to the maximum penalty

of $10,000 for each and every violation alleged herein.


                                             COUNT XXVII




       528. Plaintiff      repeats and realleges each and every allegation contained               in   the

paragraphs above as though    fully   set forth herein.

       529. This is a claim for treble damages and penalties under the Texas Medicaid               Fraud

Prevention Act.

       530.     By virtue of the acts described above, Defendants knowingly made, caused to             be

made, induced or sought to induce the making              of a false statement or misrepresentation of

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 material fact concerning information required to be provided by a federal or state law, rule,

 regulation or provider agreement pertaining to the Medicaid progrirm.

          531. By virtue of the acts described above,               Defendants knowingly made, used, or

 caused     to be made or   used, false records      or    statements   to conceal, avoid, or   decrease an

 obligation to pay or transmit money or property to the Texas State Government.

          532.   The Texas State Govemment, unaware of the falsity of the records, statements

and claims made, used, presented or caused to be made, used or presented by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants' unlawful conduct.

          533. By reason of the Defendants'           acts, the State   of Texas has been damaged,       and

continues to be damaged, in substantial amount to be determined at trial.

          534. Additionally,    the Texas State Government is entitled to the maximum penalty             of
$10,000 for each and every violation alleged herein.


                                             COUNT         XXVIII


                                               nst AII Defendants


       535. Plaintiff     repeats and realleges each and every allegation contained                 in   the

paragraphs above as though     fully   set forth herein.

        536.     This is a claim for treble damages and penalties under the Virginia Fraud Against

Taxpayers Act.

       537. By virtue of the acts described above, Defendants knowingly presented or caused
to be presented, false or fraudulent claims to the Virginia State Government for payment or

approval.




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         538. By virtue of the acts described above, Defendants knowingly made, used, or
 caused to be made or used false records and statements, to induce the           Virginia State Government

 to approve and pay such false illd fraudulent claims.

         539. By virtue of the acts described above, Defendants knowingly made, used, or
caused      to be made or used, false records or          statements   to   conceal, avoid,   or   decrease an

obligation to pay or transmit money or property to the Virginia State Government.

         540.     The Virginia State Government, unaware of the falsity of the records, statements

and claims made, used, presented or caused to be made, used or presented by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants' unlawful conduct.

         541.    By reason of the Defendants'acts, the State of Virginia has been damaged, and

continues to be damaged, in substantial amount to be determined at trial.

         542.    Additionally, the Virginia State Government is entitled to the maximum penalty

$11,000 for each and every violation alleged herein.

                                             COUNT XXIX

                           Washinston Health Care False Claim Act
                           Wash. Rev. Code QS 48.80.030(1). (2). (3)

         543. Plaintiff    repeats and realleges each and every allegation contained                   in   the

paragraphs above as though    fully   set forth herein.

        544.     This is a claim for treble damages and penalties under the Washington Health

Care False Claims Act.

       545.      By virtue of the acts described above, Defendants knowingly presented or caused

to be presented, false or fraudulent claims to the Washington State Government for payment or

approval.




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         546. By virtue of the acts described above,               Defendants knowingly made, used, or

caused   to be made or used false records and statements, to get the Washington                           State

Govemment to approve and pay such false and fraudulent claims.

         547. By virtue of the acts described above,               Defendant knowingly made, used, or

caused   to be made or used, false records or             statements    to conceal, avoid, or decrease      an

obligation to pay or transmit money or property to the Washington State Government.

         548.   The Washington State Government, unaware                   of the falsity of the records,
statements and claims made, used, presented               or   caused   to be made, used or     presented by

Defendants, paid and continues to pay the claims that would not be paid but for Defendants'

unlawful conduct.

         549. By reason of the Defendants'          acts, the State of Washington has been damaged,

and continues to be damaged, in substantial amount to be determined at trial.

         550.   Additionally, the Washington State Government                is   entitled   to the maximum
penalty of $11,000 for each and every violation alleged herein.


                                              COUNT XXX




       551. Plaintiff   repeats and realleges each and every allegation contained                    in   the

paragraphs above as though    fully   set forth herein.

       552. This is a claim for treble damages and penalties under the Wisconsin False Claims
for Medical Assistance Act.




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         553.   By virtue of the acts described above, Defendants knowingly presented or caused

to be presented, false or fraudulent claims to the Wisconsin State Government for payment or

approval.

         554. By virtue of the acts described above,            Defendants knowingly made, used, or

caused to be made or used false records and statements, to get the Wisconsin State Government

to approve and pay such false and fraudulent claims.

         555. By virtue of the acts described above,            Defendants knowingly made, used, or

caused   to be made or    used, false records      or    statements   to   conceal, avoid,   or   decrease an

obligation to pay or transmit money or property to the Wisconsin State Government.

         556. The Wisconsin State Government, unaware of the falsity of the records,
statements and claims made, used, presented              or caused to be made, used or presented by
Defendants, paid and continues to pay the claims that would not be paid but for Defendants'

unlawful conduct.

         557.   By reason of the Defendants' acts, the State of Wisconsin has been damaged, and

continues to be damaged, in substantial amount to be determined at trial.

         558.   Additionally, the Wisconsin State Government is entitled to the maximum penalty

of $10,000 for each and every violation alleged herein.




                                     Code Ann



       559. Plaintiff    repeats and realleges each and every allegation contained                    in   the

paragraphs above as though   fully   set forth herein.




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         560.    This is a claim for treble damages and penalties under the District of Columbia

False Claims Act.

         561.   By virtue of the acts described above, Defendants knowingly presented or caused

to be presented, false or fraudulent claims to the District of Columbia Govemment for payment

or approval.

         562. By virtue of the acts described above,            Defendants knowingly made, used, or

caused   to be made or used false records and statements, to get the District of                 Columbia

Govemment to approve and pay such false and fraudulent claims.

         563. By virtue of the acts described above,            Defendants knowingly made, used, or

caused   to be made or used, false records or        statements    to   conceal, avoid,   or   decrease an

obligation to pay or transmit money or property to the District of Columbia Government.

         564.   The District   of Columbia    Govemment, unaware         of the falsity of the records,
statements and claims made, used, presented         or   caused   to be made, used or presented by
Defendants, paid and continues to pay the claims that would not be paid but for Defendants'

unlawful conduct.

         565.   By reason of the Defendants' acts, the District of Columbia has been damaged,

and continues to be damaged, in substantial amount to be determined at trial.

         566. Additionally, the District of Columbia Government is entitled to the maximum
penalty of $10,000 for each and every violation alleged herein.

                                     PRAYER FOR RELIEF

       WHEREFORE, Relator prays for judgment against the Defendants as follows:

       A.       that Defendants cease and desist from violating 31 U.S.C. $3729 et seq., and the

counterpart provisions of the state statutes set forth above;



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        B.      that this Court enter judgment against Defendants in an amount equal to three

times the amount of damages the United States has sustained because of Defendants' actions,

plus a civil penalty of not less than $5,000 and not more than $11,000 for each violation of 31

u.s.c. $3729;

        C.      that this Court enter judgment against Defendants in an amount equal to three

times the amount    of damages the State of California has sustained because of          Defendants'

actions, plus a civil penalty of $10,000 for each violation of Cal. Govt. Code $1651(a);


        D.      that this Court enter judgment against Defendants in an amount equal to three

times the amount    of   damages the State   of Colorado has sustained because of Defendants'
actions, plus a civil penalty of $11,000 for each violation of the Act;


        E.      that this Court enter judgment against Defendants in an amount equal to three

times the amount of damages the State of Connecticut has sustained because of Defendants'

actions, plus a civil penalty of $10,000 for each violation of Conn. Gen. Stat. $ 17b-301b;

        F.      that this Court enter judgment against Defendants in an amount equal to three

times the amount    of   damages the State   of Delaware has sustained because of Defendants'
actions, plus a civil penalty of $11,000 for each violation of 6 Del.   c.   $1201(a);

       G.       that this Court enter judgment against Defendants in an amount equal to three

times the amount of damages the State of Florida has sustained because of Defendants' actions,

plus a civil penalty of $11,000 for each violation of Fla. stat. Ann. 968.082(2);

       H.       that this Court enter judgment against Defendants in an amount equal to three

times the amount of damages the State of Georgia has sustained because of Defendants' actions,

plus a civil penalty of $11,000 for each violation of Ga. code Ann. $49-4-168.1.




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        I.      that this Court enter judgment against Defendants in an amount equal to three

times the amount of damages the State of Hawaii has sustained because of Defendants' actions,

plus a civil penalty of $10,000 for each violation of Haw. Rev. Stat. $661-21(a);

        J.      that this Court enter judgment against Defendants in an amount equal to three

times the amount of damages the State of Illinois has sustained because of Defendants' actions,

plus a civil penalty of $11,000 for each violation of 740Ill. Comp. Stat. 9175/3(a);

        K.      that this Court enter judgment against Defendants in an amount equal to three

times the amount of damages the State of Indiana has sustained because of Defendants' actions,

plus a civil penalty of at least $5,000 for each violation of IC 5-11-55;


        L.     that this Court enter judgment against Defendants in an amount equal to three

times the amount of damages the State of Iowa has sustained because of Defendants' actions,

plus a civil penalty of $10,000 for each violation of the Act;



       M.      that this Court enter judgment against Defendants in an amount equal to three

times the amount    of   damages the State   of Louisiana has sustained because of        Defendants'

actions, plus a civil penalty of $10,000 for each violation of La. Rev. Stat. $437 et. seq.;


       N.      that this Court enter judgment against Defendants in an amount equal to three

times the amount    of damages the State of Maryland has sustained because of Defendants'
actions, plus a civil penalty of $10,000 for each violation of the Act;



       O.      that this Court enter judgment against Defendants in an amount equal to three

times the amount of damages the State of Massachusetts has sustained because of Defendants'

actions, plus a civil penalty of $10,000 for each violation of Mass. Gen. L. Ch.   l2   $5B;




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        P.     that this Court enter judgment against Defendants in an amount equal to three

times the amount    of   damages the State   of Michigan has sustained because of Defendants'
actions, plus a civil penalty of $10,000 for each violation of MI Public Act337;


        a.     that this Court enter judgment against Defendants in an amount equal to three

times the amount of damages the State of Minnesota has sustained because of Defendants'

actions, plus a civil penalty of $11,000 for each violation of the Act;


        R.     that this Court enter judgment against Defendants in an amount equal to three

times the amount of damages the State of Montana has sustained because of Defendants' actions,

plus a civil penalty of $10,000 for each violation of Mont. Stat. Ann. 17-8-401;

        S.     that this Court enter judgment against Defendants in an amount equal to three

times the amount of damages the State of Nevada has sustained because of Defendants'actions,

plus a civil penalty of $10,000 for each violation of Nev. Rev. Stat. Ann. $357.0a0(1);

       T.      that this Court enter judgment against Defendants in an amount equal to three

times the amount of damages the State of New Jersey has sustained because of Defendants'

actions, plus a civil penalty of $11, 000 for each violation of N.J. Stat. $2A:32C-3;

       U.      that this Court enter judgment against Defendants in an amount equal to three

times the amount of damages the State of New Mexico has sustained because of Defendants'

actions, plus a civil penalty of $10,000 for each violation of N.M. Stat. Ann. 527-2F-4;

       V.      that this Court enter judgment against Defendants in an amount equal to three

times the amount of damages the State of New York has sustained because of Defendants'

actions, plus a civil penalty of $12,000 for each violation of NY cLS st. Fin. $189;

       W.      that this Court enter judgment against Defendants in an amount equal to three

times the amount of damages the State of North Carolina has sustained because of Defendants'


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actions, plus a civil penalty or $11,000 for each violation of 2009-554 N.C. Sess. Laws $1-

607(a);

          X.      that this Court enter judgment against Defendants in an amount equal to three

times the amount      of damages the State of    Oklahoma has sustained because       of Defendants'
actions, plus a civil penalty of $10,000 for each violation of Okla. Stat. tit. 63, $5053.1B;

          Y.      that this Court enter judgment against Defendants in an amount equal to three

times the amount of damages the State of Rhode Island has sustained because of Defendants'

actions, plus a civil penalty of $10,000 for each violation of R.I. Gen. Laws $9-1.1-3;

          Z.    that this Court enter judgment against Defendants in an amount equal to three

times the amount of damages the State of Tennessee has sustained because of Defendants'

actions, plus a civil penalty of $10,000 for each violation of Tenn. Code Ann. $$4-18-103(a) and

71-s-182(a)(l);

          AA.   that this Court enter judgment against Defendants in an amount equal to three

times the amount of damages the State of Texas has sustained because of Defendants' actions,

plus a civil penalty of $10,000 for each violation of Tex. Hum. Res. Code Ann. $36.002;

          BB.   that this Court enter judgment against Defendants in an amount equal to three

times the amount of damages the State of Virginia has sustained because of Defendants' actions,

plus a civil penalty of $11,000 for each violation of va. code Ann. g8.01-216.3(a);


          CC.   that this Court enter judgment against Defendants in an amount equal to three

times the amount of damages the State of Washington has sustained because of Defendants'

actions, plus a civil penalty of $11,000 for each violation of the Act;




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       DD.      that this Court enter judgment against Defendants in an amount equal to three

times the amount     of damages the State of Wisconsin has sustained           because   of   Defendants'

actions, plus a civil penalty of $10,000 for each violation of Wis. Stat. 920.931(2);

       EE.      that this Court enter judgment against Defendants in an amount equal to three

times the amount of damages the District of Columbia has sustained because of Defendants'

actions, plus a civil penalty of $10,000 for each violation of D.C. Code Ann. $2-308.1a(a);

       FF.      that Relator be awarded the maximum amount allowed pursuant to$3730(d) of the

False Claims Act, and the equivalent provisions of the state statutes set forth above;

       GG.      that Relator be awarded all costs of this action, including attorneys' fees and

expenses; and

       HH.      that Relator recovers such other relief as the Court deems just and proper.

       II.      that Relator recovers such other relief as the Court deems just and proper.


                                           JURY DEMAND
       Plaintiff Relator demands   a   trial by jury.



Dated November 24,2014                           BEHN & WYETZNER, CHARTERED




                                                 Michael Behn
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              cxpiratlon or lclrninelion of rhi.s CSA; or (ii) any tsm rrquiral undcr applicabte
              rulcs, laws and/or regulatians

         b. The conditions         of nonusc and nondisclosure shall not amly to afiy rnformatr6n
              lhal:
                  (r) rs or becomes pra of the public domain tluough no fault of thc reccivrng
                  pafi)i
                 {ir} rs rnformation wtuch was rightfully roceivcd bcfore or aftcr disclqsure
                 hereunder from a third party nol in violation erf rny mn-disclosure obligation
                 owed to thc disclosing pafiy, as cvidqrccd by urittcn rccords of the rcccrving
                 party; or
                 (tii) is inrlcpendcntly developad by the reccivrng party es cvidcrrccd by rts
                 writtcn rxords

        c.   Nothing herein shall prcvent a pany's disclosure of consdcntial inf<rrmatun
             hcreurxler in thc event dincloanre is compcllod by law, rcgulatiorq coufl orelcr, or
             olher request of a Covernmental Authority (under Section [V.c. or othcrwise],
             providal thet thc parly so compellcd to disclose witl providcpronnp{ noticc tCI thc
             parly whose confidential rnfiormation is to bc dislosc{ and will give uuch or^her
             pafiy adequat€ opportrtnity to scck a protcctive ordcr or othcrwisc sek whatcvcr
             legalrelicf or protstrons it decmr dcsirrblc or *ppropriate to protccr $(
             canlidcntial information.

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       I*arants            and reprcsents thar it has full ridrt, tittc ad intcrgst in and ro all
        data, rcports and other tnformatiein providcd to Manufrcturer uder this CSA and rhc
        use nf sam* by Manul-aclurer        will not violale or in&ingc   thc nghts of   rny third   par"ly

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        " It"tll           dcfend, tnelcrnnrfy and hold hermlcss Mnnufactun:, its subsrdranes,
           affrliates, dircctors, officcrs, shiueholdcrr" rnployccs, agcnl& succcssors anrJ
             assilrrs [iom any and all clairns. dcmands, co$ts. expcnscs (including wrrhour
             linritation reasonrblc atlorneys' fcas) liabilitics and/or losses rclatcd to. (i) rhe
             negligcnce or willful rnrsconduct uf     I         irs afhliatcs, and/or their rcspectrvc
             etnployccs, agcnts,tepresentatives ord conbrctoru in pcrformance under thts
             csA; or (ii) hreach of the rcrms ard/or conditiors of tids Agrecnrant          uyl
             aruUor its cmplopes, atr;ents, rcprc$entalives ard consacto$

       h.    Manufacturer wrll tlcfend, indemnifu and hold       h**rlcsI          irs subsrdrarrss,
             aflilrates, clirectors, oflicers, sharcholdcrs, cmployra, agc$ti, succcssors and
             assigrs from any and all claims, dcrnandr, costs, cxpcnsc$ (irrcludin6 wtthout
             limitation rcasonablc attorneys' fecs) liabilitics an&or losscs rclatcd to; (i) the
             negligenee or willful misconduct of Manuf*turs, its rffiliatcs, ardor thelr
             rffptrtivc cmployees, ag,ent*" repressntatives eatl cootfactors iR performance
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                        CSA;or (ii) brcach of thc tenns andlor conclitions of thrs Agreement by
               under this
               Manufacturer and/or tts empl$yecs, agenls, representatives and contractors

           e   Any claim for rndemntfication hereunder shall be contlitioned on the followrng
               ohligations of the party seeking indemnification: (i) timcly noricc ro ttrc
               indemnifying pany of the claim for which indernnificarion is soughr, (ir) Iull
               cooperation with the indemnifying parly, at the indernnifying party's cxpcnse, in
               the defense of the clairn, and (iii) agreernent not to comprornise or otherwrss
               scttle such clairn without the indernnifying party's prior written eonsenl.

  VIII.    Effectiye Date

            a,    This CSA shall bccome cffective as of Apri.l l,2005and, unluss earher
                                       cc with Sections Vlll-b., IX. a- or lX -h., #laxplreon


fA&         lr-   fiithcr party may tctminate thi"s CSA in t]re event of a breach by the gthcr parry
                  whcrc such breach has not bcen cured within sixty (60) days' written notice ol"
                  the occurrence ofsueh breach.

  Ix.     Ceneral

                  If any one of thc provisions of this CSA is declared to be illcgal, invahd or
                  unenforceable, such provisions shall bc severed from this CSA, and the otlrer
                  provisions shall remain in full forcc zurtl cffect. Notwithstanding the foregoing,
                  if such detennination of illegality, invalidity or unenforceability rendcrs the
                  performance of this CSA to be impossible absent such illegal, invahd or
                  unenforccable provision, then this CSA shall tcrminalc immcdiately"
                  Iurthennorc, in lhe event lhat any act of law or decision of govemnrcnt;rl
                  atlllrority renders thc perlormancc of this CSA to bc commercially impractrcable
                  for either party, then such party rnay tcrminate this CSA immcdiatcly upon
                  notrcc to the othcr party.

                  'l'his CSA constitutes the entire agreement betwecn the parties
                                                                                     resprxtrng the
                  srrhfc,ut matter hercin ancl superscdcs all prior contracts, agreernenls ancl
                  undcrstanrlings between thc partles, whether oral or writteil, respccting the
                  subiect rnatter herern. 'l-his CSA may not bc amended except in a wr itrlrg sigrrcd
                  by autlrorized rcprr:scnLative$ of thc parties.

                  'llre IMA is hcrcby tcrminated and supcrseded try the terms and conditions
                  trereof. As of thc [ffcctive Dale, the Wlrolesale Service Agrccment-is hcrctry
                  amendcd to delete all references any actrvity or firnction constituting, in whole
                  or in part, thc Core Scrvrces, and this CSA strall supcrcalu the Wholcsalc
                  Service Agreemenl as it relates to the Corc Scrviccs. To thc cxteirt the partros
                  tlccitlc to separately amend thc Wholtxale Service Agrcemcnt to dclctc any
                  (lore $ervices refercnccd thcrcin or ctherwise addrcss any unique issue related
                  Io thc (-"ore Services in thc csntcxt of the Wholasale Servicc Agreemcnt, such
                   oo                                        ol
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          amendmcnt shall be construcd tei tre eonsistent wrth this Section [X.c and thc
          Fartles express understanding that allCorc Services shall be perfcnncd under
          and solely qovemed by this CSA as of rhe F,ffectrvc Date. [:xcept as stated in
          thrs liection IX.c: ( I ) all other tcrms of the Wholesate Service Agretmcnt shall
          remain unchanged and in full force and e(Tecr, arul (2] rhis CSA shall not alter
          or change any riSht or obligation under any transaction arising under or relatod
          to the Wholesalc Service Agreement prior to the fi,tfecrivc Date.

          'l'hrscsA wrll be govemcd by and construed rn accordance with thc laws of
          lllinois, without regard to or appliealrr.rn of son{lict of law, rules or principles.

          In no cvcnl shall eithcr party be liable to the other for any special,
          conscqucntial, incidcntal or intlinrct damages, howcvor caused, rln auy thcory of
          liability and whether or nol a party has becn advised of the possibility of such
          damages.

          The parries to tlris csA rrc independent contractors. Accorelingly, this csA
          tlocs txrt constitute a partncrship or other joint venture beturecn the parties anrl
          neithcr party shall bc deemcd to be an agcnr or representative erf thc othur.

          The failure of either party to enforce at any time or frrr any period of timc any
          onc or morc of the provisions hcreof shall not be construed to he a waiver of
          such prnvisions or of the right of such party thereafter to enforce each such
          provision

     lr   Exccpt for the obhgation to pay amounts due under thi.s (lSA, neither party will
          be liahle to thc othcr party for any failurc or delay in pcrformancc caused by
          rea"sons bcyorrd such party's reasonablc control, including but not limitcd to acl.i
          ol'(iod, war, riot, acts of tcrrorism, fire , shortage of materials or tr:rnsporta(ion,
          strikes or acts of civil or military authorities, provided such party givcs prompt
          written noiice thereof to the other party. Should a forcc: malcture. cvcnt causc a
          party to be unable to fullill its obligalions hcreundcr for a period of six ((r)
          months or more, thcn cither party may terminate this CSA upon thirty (30)
          days'notice

          Nerthcr party shall bc entrlled lo assrpr thrs Agreemcn( or any of lts ng,hts and
          obligations hcreurdcr withoul tlre express wrillcn conscnt ol'the orher party
          heroto, which conscnt shall not be urucasonably witNreld, provided, however
          that either parly rnay assign this Agrccmenl and/or its rights and obligations
          hereunder withoul the con.sent of thc other party to: (l ) any afliliate; (2) an
          assignce or successor in interest (by mcrger, opcration of law or oihenuise)-or
          (1) a.purchaser of all or substantially all of such party's business.

          Any right or obligation o{-Manulacturer hcrtundcr may be exerciscd or
          performed by any entity owned by or under cornnuo control with Manufacrurer.
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         . Any nght or nhligatrr"ro
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        .specifically to this CSA and shall hc l:anr:l tl*lrvrreri *r scnt hy cxlrr:s$ c{}r}ner
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                                                                                                        ol
                                                                 EXHIBIT 8

                                             TUJISAWA IIE;AI-THCARE, ISG;
                                             CHABGEFA(:K PROCEDUfiE$
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eltarg*bacX will bc r*versed ond r*mitlctl to FHI in accordane* $flth ttre folllrwng tcrrns and cnnditmns

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C trro(Ixnp"nl,, arxl i*"ff;*6rl}t.i{l{-L.t-f{d.crat $,efluqslTerryxx;lry   krl**erl Fr}e:;[Kh{.f{"&;xj@r$ &}:
t*un       Pa'ge  ?    *li$rxYln
                               oo                                                   .t
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          {6) Audits shall be performed during lhe normal, custornary office hours ol lhe Whotesaler srle that is
          being errdileld

          (7) The exrsting acsounttng records and data of the Wholesaler stte betng audited wrll be madc
          avarlable for audtt. except, unless specifrcally requeslcd by FHI no less than thirty {30} days prior to
          the sche{uled audit. electronic data will nol be specially created for tfre audit. Wtrolesaler wilt provide
          FHI auditors wlh access to FHI physical inventory in its possesson at lhe Wholesaler srte berng
          audited for th* sole ptrrpose of conductirq the audit

          (8) Any Suppler clatms ansing korn an audil must be supporte<l by specfrc audtt results relalerJ to
          specific lransacttons. Extrapolation of results lrom one perirxt lo arrother wrll nol be accepted.

          (9) Arty Flll ctairns arisirql front an audit must be sutxlritletJ to Wtrrlcsalr:r withirr forty five (45) days
          o{ complelang lhe audit. All claims musl be accompanied by specific supporting detarts o{ the
          lransactions thal comprisc the claim. Wholesaler shall then have forty-five (45) clays tn roview the
          claim and advise FHI of either acceptance or disagreement.

h. Cash Discounts. Wholesalers shallbe entiUed to cash discounts based on the gross invoacc price ot all
goods purchased frorn FHl. regardlcss of whether a charg*:back is ultimately claimcd by ttrc wholeurler

i. Advance Chargebacks. Ft{l shall provide wholesalers with an advance ch;rrqebnck l$ cover the carrying
cosls involvcd in the chargeback proce$s, subject to the following terms arul condilions:

         { 1} lhe advance chargeback will tre based on the frequcncy wilh wlrreh wholesalers submrl
         chargebacks and tlrc average arnounl of chargebacks issued rlurirrg ll"re prevous five month perur:d
         (takirq into account business trends and credit issues relevant to oach wholesaler) For exampe. a
         wholesaler that submits cfiaqebacks every week will receive an advance chargeback equal to the
         average weekly chargeback subrnission by that wholesaler over ttre previous five months

         (?) Orr a $ernrannual basis. FHI will adjusl the advance chargeback levcl based on lhc prevtou* five
         rnonth submissions taking into account currenl business irends and crctlit issues relevant to a qlven
         wholesalcr

         {3} lrnrnedrate deductions ol chargebacks and dc.dtrctrons of c}riuet:b;tr;k rltscrepanaes wtll not tx:
         allowcd FHlwill provide a discrepancy repCIrt lo cach wholesaler. along wilh lhe r.rerfil for tlie nriettral
         subnrissron Wholesalers will re-suhrrnit lor additional credrts tf ;rpptr4rtu:le




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